                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF VIRGINIA
                            CHARLOTTESVILLE DIVISION

JOHN AND JANE DOE,                                       :   CIVIL ACTION NO. 3:22-cv-49
                                                         :
       Plaintiffs & Counterclaim-Defendants,             :
                                                         :      (1) ANSWER TO AMENDED
v.                                                       :          COMPLAINT;
                                                         :      (2) AFFIRMATIVE & OTHER
JOSHUA & STEPHANIE MAST,                                 :          DEFENSES; &
                                                         :      (3) COUNTERCLAIM
       Defendants & Counterclaim-Plaintiffs,             :          COMPLAINT
                                                         :
                                                         :
RICHARD MAST & KIMBERLEY MOTLEY,                         :
                                                         :
       Defendants.                                       :
                                                         :


                         (1) ANSWER TO AMENDED COMPLAINT

       Subject to his affirmative defenses set forth below, and without waiver of any rights,

privileges, or defenses, Defendant Richard Mast hereby submits this Answer to Plaintiffs

Amended Complaint (“Complaint”). Each numbered response in this Answer is made subject to

the following limitations as if fully set forth therein. First, no responses in this Answer constitute

an acknowledgment or admission of the validity or relevance of such allegation. Second, section

headings and subheadings throughout the Complaint contain characterizations of the Complaint to

which no response is required. To the extent a response is deemed required, Defendant Richard

Mast denies any allegations in the section headings and subheadings of the Complaint. Third,

where Defendant Richard Mast states that he lacks knowledge or information sufficient to form a

belief about the truth of a certain allegation, Defendant reserves the right to argue that the

allegations are true or false based on the evidence. Fourth, Defendant Richard Mast by use of the

pseudonym “Baby Doe” does not admit that the child subject to this litigation is in any way related
to “John Doe” or “Jane Doe” or any member of their family, actual or claimed. Finally, except to

the extent expressly admitted herein, Defendant Richard Mast denies each and every allegation in

Plaintiffs’ Complaint. The numbered paragraphs in this Answer correspond to the numbered

paragraphs of the Complaint.

       COMES NOW Defendant Richard Mast, by and through his attorneys of record, responds

to Plaintiffs’ Complaint as follows:

       1.      This action for conspiracy, tortious interference with parental rights, fraud,
intentional infliction of emotional distress, and false imprisonment arises from a U.S. Marine
Corp Judge Advocate’s unlawful abduction of Baby Doe, an Afghan war orphan, from her
biological family and legal guardians, Plaintiffs John and Jane Doe. Plaintiffs seek a
declaratory judgment and compensatory and punitive damages.

ANSWER: Richard Mast states that Paragraph 1 asserts legal conclusions to which no response

is required. Richard Mast otherwise denies the allegations contained within Paragraph 1. The Does

are not legal guardians under any theory of Afghan law or U.S. federal or state law or U.S. federal

or state law and are not biologically related to Baby Doe.

       2.     Defendants collectively engaged in a fraudulent scheme over the course of
nearly two years to accomplish the abduction of Baby Doe for the purpose of “adoption” by
Defendants Joshua and Stephanie Mast.

ANSWER: Richard Mast denies the allegations contained within Paragraph 2. In fact, the child

the Petitioner’s assert is “Baby Doe” was the biological daughter of Al Qaeda foreign fighters who

entered Afghanistan to wage jihad against the United States and its allies. The child’s parents were

targeted and killed in close combat with the 75th Ranger Regiment due to their association with the

East Turkistan Islamic Party as confirmed by multi-source intelligence feeding the Joint Targeting

Process of the Special Operations Joint Task Force (JTF) that had been operating in Afghanistan

for nearly twenty years at that point. Contemporaneously, the child’s biological parents were

classified as “Enemy, Killed in Action” (EKIA) because they refused to surrender and fought to

the death. Despite the accurate and specific classified intelligence at the TOP SECRET and


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SECRET level, the child was turned out of U.S. protection in an objectively dangerous manner to

non-relative, terrorist affiliated persons without DNA testing or vetting for terrorist affiliations.

       3.      On September 6, 2019, Baby Doe’s parents and five siblings were killed in a
U.S. military operation in rural Afghanistan. She survived and U.S. forces transported her
to a military hospital for emergency medical treatment. Baby Doe, then only two months
old, was seriously injured in the battle.

ANSWER: Richard Mast admits that the Child’s parents were killed in a U.S. military

operation after they chose to fight the 75th Ranger Regiment to their deaths and that the Child

miraculously survived an attempt by the Afghan partner force to murder her during the mission

that was thwarted by U.S. Army Rangers. This allowed the child to be transported to a U.S.

military hospital where she could recover from her serious injuries, and were she remained for

approximately five months. Richard Mast’s Circuit Court clients, Joshua and Stephanie Mast,

extended the offer to pay for DNA confirmation of any alleged biological relationship

approximately three years ago. Richard Mast expressly denies that any of the five different

Afghan identities asserted for “Baby Doe” correspond to her true identity or origin. Richard Mast

denies all other allegations contained within Paragraph 3.

       4.     In November 2019, while Baby Doe was recovering from her injuries in a U.S.
military hospital in Afghanistan, Defendants Joshua and Stephanie Mast, represented by
Defendant Richard Mast (a member of the Virginia Bar), fraudulently obtained a custody
order and an interlocutory order of adoption over Baby Doe from Virginia courts that they
knew, or reasonably should have known, lacked personal and subject matter jurisdiction
over Baby Doe, a citizen of Afghanistan who had biological family in Afghanistan and had
no legal or physical connection to the United States (the “Fraudulent Custody and Adoption
Orders”).

ANSWER: Defendant Richard Mast admits that he filed for a custody order; foreign birth

order; and interlocutory order of adoption to obtain the foreign birth order on behalf of Baby

Doe, Joshua Mast, and Stephanie Mast. Richard Mast obtained a custody order and interlocutory

adoption order in late 2019 so the Child could be transported from a hospital in Afghanistan that

was constantly under rocket fire and could be treated at the University of Virginia’s medical


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center so she could recover from her serious injuries. Richard Mast denies all other allegations

contained within Paragraph 4.

       5.     Notwithstanding the Fraudulent Custody and Adoption Orders, the U.S.
government in Afghanistan refused to release Baby Doe to Joshua and Stephanie Mast.
Instead, the U.S. government honored its unambiguous federal and international legal
obligations to release her to the government of Afghanistan so that she could be reunited
with her next of kin in Afghanistan. Pursuant to Afghan law, Baby Doe’s first cousin (John
Doe) and his wife (Jane Doe) assumed permanent guardianship over her, loved her, and
welcomed her as their first child.

ANSWER: Richard Mast lacks knowledge or information sufficient to form a belief about the

truth of the allegations regarding the reasons the United States released the Child to a person who

never provided any confirmation of biological relationship and on that basis denies them. Richard

Mast otherwise denies the allegations contained within Paragraph 5. John Doe and Jane Doe are

not permanent or legal guardians of the child under any theory of Afghan law or U.S. federal or

state law or U.S. federal or state law. In addition, John Doe admitted that his father was responsible

to the Taliban for the child, and that the Taliban had denied permission for the child to go to

America prior to the start of the historical evacuation. In addition, it is appalling that U.S. Embassy

Kabul would fail to keep a U.S. Forces, Afghanistan (USFOR-A) commitment to DNA test any

claimant when the former Afghan government expressly requested it. Such blatant disregard for

child safety falls below the standard of care Americans should expect of their government and was

a foreshadowing of the callous incompetence resulting in the abandonment of Afghanistan to a

brutal terrorist organization and the avoidable deaths of many allies and thirteen American

servicemembers.

        6.     Undeterred, Joshua and Stephanie Mast engaged the services of Kimberley
Motley to search for and communicate with John and Jane Doe. Motley was aware that
Joshua and Stephanie Mast had obtained the Fraudulent Custody and Adoption Orders
for Baby Doe and was aware from the outset that Joshua and Stephanie Mast wanted to
take physical custody of her in the United States and intended to adopt her as their own
child. In coordination with Joshua and Stephanie Mast, however, Motley never disclosed
the Masts’ true intentions to the Does.


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ANSWER: Richard Mast lacks knowledge or information sufficient to form a belief about the

truth of the allegations regarding Defendant Kimberley Motley’s awareness or knowledge and on

that basis denies them. In addition, John Doe represented he had hired a woman to care for the

child, and that he was an unmarried man who did not live with the child. John Doe further

represented that his father was responsible for the child. Plaintiff Jane Doe has admitted that

Motley disclosed to her from the beginning that an American family wanted to provide a home for

the child.   In addition, the Does have improperly withheld as “marital communications”

contemporaneous communications that go to their knowledge of what Mrs. Motley relayed

regarding Major Joshua and Stephanie Mast and the intent to have the child live with the Masts in

America. Richard Mast otherwise denies the allegations contained within Paragraph 6.

       7.     Instead, Motley told the Does only that an American family wanted to help
Baby Doe with her continuing medical needs. Joshua and Stephanie Mast’s primary and
undisclosed intention, however, was to induce John and Jane Doe to bring Baby Doe to the
United States to enable them (one way or another) to acquire physical custody of Baby Doe
based on the “authority” of the Fraudulent Custody and Adoption Orders.

ANSWER: Richard Mast lacks knowledge or information sufficient to form a belief about the

truth of the allegations regarding Defendant Kimberley Motley’s statements and on that basis

denies them. Richard Mast understands that Major Mast personally informed Plaintiffs using the

strongest words for legal responsibility over a child in Pashto, to send the child to live with him

and his wife in the United States as the Taliban was conquering Afghanistan. The Does were fully

aware of the Masts’ intention and manifested belief that it was in the child’s best interest to live

with the Masts. As Richard Mast understood from Joshua Mast contemporaneously and in

subsequent litigation, in every instance, John Doe represented that Plaintiff John Doe’s father was

responsible to the Taliban for the child, and that the Taliban denied permission for the child to go

to America. Richard Mast otherwise denies the allegations contained within Paragraph 7.




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       8.     Despite communicating with John and Jane Doe for more than a year, first
through Kimberley Motley, and eventually both directly and through Ahmad Osmani,
Joshua and Stephanie Mast never revealed to them the Fraudulent Custody and Adoption
Orders. Instead, through their omissions and misrepresentations, Joshua and Stephanie
Mast deceived John and Jane Doe into believing that the Masts’ only interest was in helping
Baby Doe access medical care that was not available in Afghanistan. In reality, however, the
Masts’ chief objective was to consummate their illicit scheme to take Baby Doe from her
lawful Afghan parents.

ANSWER: Richard Mast denies the allegations contained within Paragraph 8. Plaintiff John and

Jane Doe are not parents under any theory of Afghan law or U.S. federal or state law or U.S. federal

or state law. Plaintiff John Doe represented to Major Mast that John Doe’s father was responsible

to the Taliban for the child on multiple occasions. John Doe expressly stated he was not responsible

for the child, and that he thought the child should live with the Masts in America, and that there

was “no hope in Afghanistan.” The Plaintiffs never referred to the child as their daughter or to

themselves as legally responsible for her until their second lawsuit was initiated in litigation in the

United States. Even if that description were legally accurate (which it is not), the Plaintiffs are

estopped from asserting that claim against the Masts because John Doe represented (documented

in an audio recording) to the Masts that the child did not live with John Doe, Jane Doe, or John

Doe’s father in July 2021, and that third parties to this suit had become like a mother and father to

the child. In addition, Jane Doe was an unmarried minor child living in her father’s home through

October 2020 according to her own admission on her public Facebook profile and admissions to

Mrs. Motley. John Doe also represented he believed it was in the child’s best interest to live in the

United States with the Masts each time he spoke with Major Mast during the fall of Afghanistan

to the Taliban. Not only were Plaintiffs fully aware of the Masts intent – they used her military

identification documents and personally registered her using her U.S. identity to come to America.

John and Jane Doe were told by Major Mast he would bring all of the child’s U.S. documents (on

video tape) when he sought to fly into Kabul during the evacuation to ensure all four children in



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the group and the Plaintiffs were successfully evacuated. Plaintiffs were given copies of all of the

child’s U.S. documents upon their safe arrival in the United States.

       9.      In August 2021, as a result of this long-running and coordinated fraudulent
scheme, John and Jane Doe brought Baby Doe to the United States for medical care, only to
have Joshua and Stephanie Mast tear her away from the only parents she had known for
most of her life.

ANSWER: Richard Mast denies the allegations contained within Paragraph 9. The responses to

Paragraph 8 are incorporated herein. In addition, Plaintiffs have admitted that Jane Doe threatened

to stay in Afghanistan with the child and told John Doe to go to America if he wanted to. Plaintiffs

have both admitted that John Doe promised Jane Doe that, if she agreed to come to America, the

child would never have to leave her side. Neither Plaintiffs informed Joshua and Stephanie Mast

of this collateral promise until the Plaintiffs had been evacuated from Afghanistan by U.S. special

forces expressly using the child’s U.S. identity. Plaintiffs were fully aware the Masts intended to

have the child live with them in the United States under the benefits her U.S. identity provided.

Plaintiff John Doe expressed multiple times that his teenage wife was attached to the child but

would be fine with the child living with the Masts once her own daughter was born. Any conflict

between the Does on what was ultimately in the child’s best interest or misrepresentations John

Doe made to Jane Doe to induce her to accompany him to America is no fault of the Masts. In

addition, when John Doe was flagged on the Biometrically Enabled [Terror] Watch List (BEWL)

and was detained and interrogated at Washington Dulles Airport along with a Pashtun friend from

his village in Afghanistan, it was objectively reasonable for the Masts to demand the child be

removed given her having been recovered from a 75th Ranger Regiment mission to capture/kill

senior Al Qaeda leadership, John Doe’s repeated representations his father was responsible to the

Taliban for the child, and John Doe stating that he had many Taliban fighters in his phone when

he brought the child to U.S. forces to be evacuated in 2021. The Masts representations to this court



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in 2020 that the child was being turned over to likely non-relative, terrorist affiliated persons based

on every available piece of intelligence have proven to be an inconvenient truth.

       10.     Defendants have caused irreversible harm to an innocent toddler and
Plaintiffs John and Jane Doe. As her true family and legal guardians, they raised Baby Doe
for 18 months before the abduction and love her as their own child. Though this lawsuit can
never make them whole, Defendants must be held accountable for their unconscionable
conduct.

ANSWER: Richard Mast denies the allegations contained within Paragraph 10. Richard Mast

incorporates by reference the response to Paragraph 12. In addition, John Doe and Jane Doe are

not legal guardians of the child under any theory of Afghan law or U.S. federal or state law or U.S.

federal or state law. John Doe represented his father was responsible to the Taliban for the child

on multiple occasions. John Doe represented that the child did not live with him, his family, or his

father in July of 2021, and that third parties to this case had become like a mother and father to the

child. Jane Doe represented that the child referred to Jane Doe’s mother as “mom.” John and Jane

Doe have admitted they did not live together until October, 2020, and then only next door to a

common dwelling with at least twenty-three other persons living in it. Jane Doe was an unmarried

minor child living in her father’s home and attending high school until October 2020, when she

graduated high school. John and Jane Doe never referred to the child as their daughter, or to

themselves as her mother and father to the Masts prior to their second lawsuit in March, 2022.

       11.    Baby Doe is a three-year-old Afghan citizen whose biological parents died in
2019. She currently is being held in North Carolina by Joshua and Stephanie Mast.

ANSWER: Richard Mast admits that the Child is a five-year-old girl whose biological parents

died in 2019 and that she lives with her adopted family in North Carolina. Richard Mast otherwise

denies the allegations contained within Paragraph 11. The child’s true identity and origin does not

correspond to any of the five different Afghan identities/names utilized to refer to Baby Doe.




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Richard Mast’s Circuit Court clients, Joshua and Stephanie Mast, extended the offer to pay for

DNA comparison approximately three years ago.

      12.     John and Jane Doe, citizens of Afghanistan, are a married couple and the legal
guardians of Baby Doe under the laws of Afghanistan. John Doe is the paternal first cousin
of Baby Doe. John and Jane Doe currently reside in Texas.

ANSWER: John and Jane Doe are not legal guardians of Baby Doe under any theory of Afghan

law or U.S. federal or state law. John Doe has admitted that neither he nor his father have a court

order granting them custody or guardianship of the child. John Doe is not biologically related to

Baby Doe. The Plaintiffs have represented to the Virginia Circuit Court that their claims do not

rely on a biological relationship to the child. Richard Mast’s Circuit Court clients, Joshua and

Stephanie Mast, extended the offer to pay for DNA comparison approximately three years ago.

John Doe is not biologically related to Baby Doe. Richard Mast otherwise denies the allegations

contained within Paragraph 12.

        13.    Joshua and Stephanie Mast are a married couple, and are United States
citizens claiming domicile in Palmyra, Virginia, but currently residing in North Carolina,
where Joshua Mast is stationed in the United States Marine Corps. Joshua Mast is a Major
in the Marine Corps, a Judge Advocate, and an attorney admitted to the bar of the
Commonwealth of Virginia.

ANSWER: Richard Mast admits that Major Joshua Mast and Stephanie Mast are a married

couple. Richard Mast understands that Joshua and Stephanie Mast currently reside and are

domiciled in Hampstead, North Carolina. They have not resided in Palmyra, Virginia since July

of 2020 and therefore deny the allegations to the contrary. Richard Mast admits that Joshua Mast

is a Major in the United States Marine Corps. Major Mast is currently serving as the Executive

Officer of a Raider Support Battalion and not as a Judge Advocate. Major Mast is admitted to the

bar of the Commonwealth of Virginia.

      14.    Upon information and belief, Richard Mast is a United States citizen domiciled
and residing in Forest, Virginia. Richard Mast is Joshua Mast’s brother and is also an



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attorney admitted to the bar of the Commonwealth of Virginia. Richard Mast is affiliated
with an entity named “Liberty Counsel.”

ANSWER: Richard Mast admits the allegations in Paragraph 14.

       15.   Upon information and belief, Kimberley Motley is a United States citizen
domiciled and residing in North Carolina. Upon information and belief, Motley is an
attorney admitted to the bar of the state of Wisconsin and has periodically worked in
Afghanistan. Upon information and belief, Motley is the general counsel of Women for
Afghan Women, which has a Community Center in Alexandria, Virginia.

ANSWER: Richard Mast admits that Kimberley Motley is a United States citizen. Richard Mast

lacks knowledge or information sufficient to form a belief about the truth of the remaining

allegations in Paragraph 15 and on that basis denies them.

       16.  Upon information and belief, Ahmad Osmani is an Afghan national
permanently residing in Tennessee. Upon information and belief, Osmani is married to
Natalie Osmani, a U.S. citizen.

ANSWER: Richard Mast understands that Ahmad Osmani is an Afghan national married to a

U.S. citizen. Richard Mast lacks information sufficient to form a belief about the truth of the

remaining allegations in Paragraph 16 and on that basis denies them.

       17.     United States Secretary of State Antony Blinken and United States Secretary
of Defense General Lloyd Austin are named as nominal defendants, in their official
capacities, as parties who are necessary to this proceeding. Plaintiffs are seeking no relief
from them in this action.

ANSWER: Richard Mast admits the allegations in Paragraph 17 as of the filing of the Complaint.

       18.    This Court has subject matter jurisdiction under 28 U.S.C. § 1332, as the
parties are completely diverse in citizenship, and the amount in controversy, exclusive of
costs and interest, exceeds $75,000.

ANSWER: Richard Mast denies the allegations in Paragraph 18.

        19.    This Court also has subject matter jurisdiction under 28 U.S.C. § 1331, and
supplemental subject matter jurisdiction under 28 U.S.C. § 1367, because Plaintiffs’ right to
relief as to Count 1 and their request for declaratory relief necessarily depend on resolution
of substantial questions of federal law.




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ANSWER: Richard Mast denies the allegations in Paragraph 18. The Court has also held that

there is no federal question jurisdiction in this case. See ECF No. 455.

        20.    All Defendants are subject to personal jurisdiction in Virginia under Virginia
Code §§ 8.01-328.1(A)(1) and (3), because the causes of action asserted in this Complaint
arise from their having transacted business in Virginia and/or having caused tortious injury
by an act or omission in Virginia. Defendants Motley and Osmani also are subject to personal
jurisdiction in Virginia as alleged co-conspirators with Joshua and Stephanie Mast and
Richard Mast. As co-conspirators, Motley and Osmani are liable for the Mast defendants’
acts and omissions in Virginia, as set forth herein, in furtherance of the conspiracy to enable
Joshua and Stephanie Mast to abduct Baby Doe. In addition, at the request of Joshua and
Stephanie Mast and in furtherance of the conspiracy, Osmani voluntarily appeared in
Virginia to testify on the Masts’ behalf in the proceeding filed by John and Jane Doe in the
Circuit Court of Fluvanna County to vacate that court’s Fraudulent Adoption Order.

ANSWER: Richard Mast admits he is a resident of Virginia but denies the other allegations in

Paragraph 20. Insofar as Paragraph 20 asserts legal conclusions to which no response is required,

the allegations are denied.

      21.    Venue lies in this Court pursuant to 28 U.S.C. § 1391, as a substantial part of
Defendants’ wrongful conduct occurred in this district.

ANSWER: Paragraph 21 asserts legal conclusions to which no response is required. Inasmuch as

a response is required, Richard Mast denies the allegations in Paragraph 21.

       22.     Baby Doe’s biological parents and five of her siblings were killed on
September 6, 2019, in Afghanistan, in a joint United States and Afghan military operation in
the course of which their home was destroyed. Baby Doe sustained serious injuries, including
a fractured skull and femur, and second-degree burns. U.S. military forces discovered Baby
Doe in the rubble and immediately transported her to a nearby U.S. military hospital for
urgent surgical and medical care. She was then transferred to [REDACTED] on September
25, 2019, at which time her condition stabilized.

ANSWER: Richard Mast admits that the Child’s biological parents died fighting in close combat

with U.S. Army Rangers because they refused to surrender and fought U.S. forces to the death.

The child has no known siblings, and the Masts extended an offer to pay for a DNA comparison

approximately three years ago. Richard Mast also admits that the Child sustained serious injuries,

which were treated only by a U.S. military hospital and the Masts. Richard Mast also admits she



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was transferred between U.S. military hospitals on September 25, 2019. Richard Mast otherwise

denies the allegations in Paragraph 22.

       23.    The International Committee of the Red Cross (“ICRC”) is the organization
authorized to care for children who are orphaned during wartime and to assist with family
reunifications under the Geneva Convention Relative to the Protection of Civilian Persons
in Time of War of August 12, 1949 (“The Fourth Geneva Convention”). The U.S. military
informed ICRC that Baby Doe was in its custody, and ICRC began searching for her family.

ANSWER: Richard Mast lacks knowledge or information sufficient to form a belief about the

truth of the allegations in Paragraph 23 and on that basis denies them. Furthermore, the ICRC did

not vet John Doe, Jane Doe, or plaintiff John Doe’s father for biological or familial relationship to

the child. Plaintiffs were aware of this fact and did not provide responsive discovery in the Virginia

Circuit Court until this federal proceeding.

        24.   The ICRC has worked for over one hundred years in conflict areas and
humanitarian disasters to reunite separated family members through its “Restoring Family
Links Program.” ICRC and the national Red Cross and Red Crescent societies are
universally recognized as experts in family tracing and reunification. See
https://www.brookings.edu/wp-
content/uploads/2016/06/0119_internal_displacement_complete.pdf, p, 332.

ANSWER: Richard Mast lacks knowledge or information sufficient to form a belief about the

truth of the allegations in Paragraph 24 and on that basis denies them. Furthermore, the ICRC did

not vet plaintiff John Doe, Jane Doe, or plaintiff John Doe’s father for biological or familial

relationship to the child. Plaintiffs were aware of this fact.

      25.    By October 25, 2019, ICRC made contact with Baby Doe’s uncle, who
requested ICRC’s assistance in reuniting her with her family.

ANSWER: Richard Mast lacks knowledge or information sufficient to form a belief about the

truth of the allegations in Paragraph 25 and on that basis denies them. The ICRC did not vet John

Doe, Jane Doe, or John Doe’s father for a biological or familial relationship to the child at all.

Plaintiffs were aware of this fact.




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      26.     Through his position as a Captain Judge Advocate in the United States Marine
Corps deployed in Afghanistan, Joshua Mast learned of Baby Doe while she was in the
custody of the Department of Defense (the “DoD”) and under the care of the Military Health
System.

ANSWER: Richard Mast admits the allegations in Paragraph 26. Specifically, then-Captain

Mast’s office was tasked with determining a safe and acceptable outcome for an innocent that had

been injured in a suicide blast.

      27.    Upon information and belief, Joshua and Stephanie Mast and Richard Mast
were aware that ICRC would be searching for Baby Doe’s biological family in Afghanistan.

ANSWER: Richard Mast admits the allegations in Paragraph 27. Furthermore, Major Mast

collected on behalf of the Office of the Staff Judge Advocate, U.S. Forces Afghanistan (USFOR-

A) : 1) the Concept of Operations (CONOP) from the 75th Ranger Regiment mission to capture or

kill three named Al Qaeda objectives during which the child was recovered; 2) the Civilian

Casualty attribution required by Department of Defense policy that categorized both of the child’s

deceased parents as “Enemy, Killed in Action (EKIA)” and not as civilian casualties, 3) the

Tactical Interrogation Report (TIR) of the sole detainee from the objective where the child was

recovered who indicated the occupants of the compound were Uighurs associated with the East

Turkistan Islamic Party (ETIP), and did not speak Dari or Pashto, 4) the Air Mission Report for 5-

6 September 2019 detailing the ordnance dropped resulting in “that building was destroyed IAW

JTF ROE” [in accordance with Joint Task Force Rules of Engagement], and the amount of U.S.

casualties sustained in combat with the child’s parents; and 5) emails from the Staff Judge

Advocate for the Special Operations Joint Task Force that conducted the mission stating “the

family (and most of the village) were suspected to be terrorist foreign fighters that relocated to

REDACTED/ Afghanistan for the sole purpose of waging violent terrorism.”




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These contemporaneous source documents were compiled, summarized, and declassified for

release to the ICRC and then existing Afghan government. Colonel Joseph Fairfield, the Staff

Judge Advocate for USFOR-A provided this information to the ICRC and Afghans on 31 October

2019 and directed the child’s DNA be collected for comparison to any claimants, as was U.S.

policy until Donna Welton, Assistant Chief of Mission, U.S. Embassy Kabul declined the Afghan’s

request to DNA test the claimant.

       28.    In spite of this knowledge, the Masts began taking steps to remove Baby Doe
to the United States.

ANSWER: Richard Mast denies the allegations in Paragraph 28. Specifically, all information in

the custody or control of the United States and known to the Defendants indicates the child was

provided to non-relative terrorist affiliated persons two days before the “peace deal” with the

Taliban was announced. After the Vehicle Borne Improvised Explosive Device (VBIED) and

complex attack by the Taliban adjacent to the child’s hospital occurred in December, 2019, the

Masts immediately sought to have her moved to a safer location for continued treatment as per her

rights as a patient in a DoD facility.

      29.     Joshua Mast is an attorney, barred in Virginia, who served at the Center for
Law and Military Operations, and whose responsibilities in Afghanistan included collection
and analysis of data on targeting, collateral damage estimation, and civilian casualty
response in an active combat zone. As an attorney and member of the United States’ Armed
Forces in Afghanistan, it was his professional responsibility to be aware of Afghanistan’s


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status as a sovereign nation, and of the Security and Defense Cooperation Agreement
Between the Islamic Republic of Afghanistan and the United States of America (the
“Bilateral Agreement”) that governed U.S. military operations in Afghanistan.

ANSWER: Richard Mast admits Joshua Mast is an attorney barred in Virginia who served at the

Center for Law and Military Operations. The U.S. was unilaterally negotiating with the Taliban

regarding control over the territory of Afghanistan during the alleged period, the Deputy SJA,

USFOR-A was involved in these negotiations, and regularly briefed the Office of the SJA on the

status of negotiations with that terrorist organization which resulted in the collapse of the U.S.

backed government and resulting catastrophe. Richard Mast otherwise denies the allegations in

Paragraph 29.

        30.   As a U.S. military attorney, Joshua Mast knew, or should have known, that
the Bilateral Agreement governed the U.S. military presence in Afghanistan, and that all
U.S. military operations in Afghanistan were conducted under its auspices. Moreover, he
was aware the Bilateral Agreement specifically recognized Afghan sovereignty and limited
the Afghan Government’s jurisdiction only over active-duty U.S. Armed Forces and DoD
civilian employees; the Bilateral Agreement did not limit Afghanistan’s jurisdiction over
Afghan nationals in Afghanistan.

ANSWER: Richard Mast denies the allegations in Paragraph 30. Furthermore, the U.S. abrogated

the “Bilateral ‘Security’ Agreement” (BSA), gave Afghanistan to a terrorist organization, and left

many former Afghan government officials to die at the hands of the Taliban. Finally, the child’s

status as an authorized Department of Defense dependent allowed her to depart Afghanistan on a

military aircraft with her military identification card in accordance with the BSA – which is exactly

how the child ultimately escaped the Taliban takeover of Afghanistan.

       31.    As a U.S. military attorney, Joshua Mast knew, or should have known, that all
obligations of the United States and Afghanistan under the Bilateral Agreement were
“without prejudice to Afghan sovereignty over its territory,” and that U.S. Armed Forces
personnel and DoD civilian employees were obligated to “respect the Constitution and laws
of Afghanistan.” Bilateral Agreement, Articles 3:1, 3:2.

ANSWER: Richard Mast denies the allegations in Paragraph 31. Furthermore, the referenced

document does not create third party rights or obligations under international law, are non-


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justiciable by the terms of the agreement, and are irrelevant to any claim or defense in this

proceeding.

       32.    As a U.S. military attorney, Joshua Mast knew, or should have known, that
U.S. military bases under the Bilateral Agreement are not U.S. territory. Indeed, the
Bilateral Agreement is explicit that “Afghanistan has full sovereignty over its airspace,
territory, and waters.” Bilateral Agreement, Article 10:1. Joshua Mast was also aware that
even if Baby Doe’s identity was unknown, her nationality would be determined under
Afghan law. Accordingly, he knew, or should have known, that Baby Doe, as a civilian in
Afghanistan, was subject solely to the sovereign jurisdiction of Afghanistan for the entire
time she was in the care of U.S. military hospitals.

ANSWER: Richard Mast incorporates by reference the response to paragraph 27, 29, 30, and 31

of the complaint. Richard Mast denies the allegations in Paragraph 32.

        33.   As a U.S. military attorney working in Afghanistan, Joshua Mast knew, or
should have known, that under Article 12 of Afghanistan’s law on citizenship, if a child is
found in the territory of Afghanistan and “his/her parents’ documents proving their
citizenship are not available,” the child is considered a citizen of Afghanistan. See United
Nations High Commission for Refugees, Law on Citizenship of the Islamic Emirate of
Afghanistan (English Translation), Article 12 (June 24, 2000), available at
http://www.refworld.org/pdfid/404c988d4.pdf; see also Athayi, Abdullah, Report on
Citizenship Law: Afghanistan, Robert Schuman Centre for Advanced Studies, European
University      Institute     (March        2017),     at      p.     9,    available     at
https://cadmus.eui.eu/bitstream/handle/1814/45933/GLOBALCIT_CR_2017_09. pdf.

ANSWER: Richard Mast denies the allegations in Paragraph 33. Furthermore, this is a frivolous

allegation that cites as its basis in “law” the Islamic Emirate of Afghanistan, also known as the

Taliban. Major Mast did not recognize the Taliban as a legitimate source of any binding legal

rights or obligations during his time assigned to the U.S. mission to capture or kill as many of them

as possible in 2019, or at the present time.

       34.     As a U.S. military attorney working in Afghanistan, Joshua Mast knew, or
should have known, that regardless of where in Afghanistan Baby Doe was recovered, all
territory within the internationally recognized borders of Afghanistan was subject to the
jurisdiction of the laws of Afghanistan. Bilateral Agreement, Article 10:1.

ANSWER: Richard Mast denies the allegations in Paragraph 34. In addition, to the extent that

Paragraph 34 asserts legal conclusions to which no response is required, the allegations are denied.



                                                 16
       35.    On information and belief, these basic, uncontroversial principles of national
sovereignty were not only known to Joshua Mast but were core obligations of his practice
while serving as an attorney in the U.S. Marines in Afghanistan.

ANSWER: Richard Mast admits Joshua Mast understands national sovereignty, including the

three requirements for sovereignty under international law (defined territory, permanent

population, control/effective government). It is a historical fact that these factors did not exist

concurrently in Afghanistan during any relevant period. In addition, it is a historical fact that the

U.S backed former Afghan government never realized sovereignty over the territory of

Afghanistan, and, during the alleged period, the United States unilaterally negotiated with the

Taliban over control of Afghanistan without the participation of the then existing Afghan

government. Richard Mast otherwise denies the allegations in Paragraph 35.

       36.    On information and belief, Joshua Mast also knew that the ICRC was actively
searching for Baby Doe’s family, and he knew that, as Baby Doe was recovered from a
remote area of Afghanistan, this process would be labor- and time-intensive.

ANSWER: Richard Mast incorporates by reference the response to paragraph 23, 24, 25 and 27

of the complaint. Richard Mast understands that Major Mast was aware that permission from the

Taliban to access the area in question would be required for the ICRC to visit the Al Qaeda camp

from which the child was recovered. Major Mast was also aware that the 75th Ranger Regiment

had targeted and killed the child’s parents based on their affiliation with the East Turkistan Islamic

Party. Ultimately, the ICRC did not vet John and Jane Doe for a biological or familial relation to

the child nor did they vet John Doe’s father.

       37.    Virginia-barred lawyers like Joshua Mast and Richard Mast are expected to
“conform to the requirements of the law, both in the professional service to clients and in the
lawyer’s business and personal affairs.” Virginia Rules of Professional Conduct, Preamble.
Virginia-barred lawyers also are expected to “use the law’s procedures only for legitimate
purposes and not to harass or intimidate others.” Id. Further, lawyers are expected to
“provide competent representation to a client,” which “requires the legal knowledge, skill,
thoroughness and preparation reasonably necessary for the representation.” Virginia Rules
of Professional Conduct, 1.1.



                                                 17
ANSWER: Paragraph 37 asserts legal conclusions to which no response is required. The

referenced rules speak for themselves. Inasmuch as a response is required, Richard Mast denies

the allegations in Paragraph 37.

       38.     A myriad of national and state laws governs international adoptions in the
United States. In the case of an orphaned child in Afghanistan sought to be adopted in
Virginia, the laws of the United States and Virginia require that prospective adoptive parents
follow the laws of the Government of Afghanistan.

ANSWER: Paragraph 38 asserts legal conclusions to which no response is required. The

referenced rules speak for themselves. Inasmuch as a response is required, Richard Mast denies

the allegations in Paragraph 38.

        39.   As Virginia attorneys, Joshua Mast and Richard Mast knew, or should have
known, that they would need to comply with the applicable laws of Afghanistan, the United
States, and Virginia.

ANSWER: Richard Mast admits that he understands his obligations as a Virginia attorney.

Richard Mast otherwise denies the allegations in Paragraph 39.

        40.   As such, U.S. law requires that, before a child in Afghanistan can be adopted
by someone in the United States, legal guardianship or custody must be obtained over the
child in Afghanistan.

ANSWER: Paragraph 40 asserts legal conclusions to which no response is required. The

referenced rules speak for themselves. Inasmuch as a response is required, Richard Mast denies

the allegations in Paragraph 40.

      41.    Afghanistan’s laws, however, expressly prohibit the guardianship or custody
of Muslim Afghan children by non-Afghan non-Muslims.

ANSWER: Paragraph 41 asserts legal conclusions to which no response is required. The

referenced rules speak for themselves. Inasmuch as a response is required, Richard Mast denies

the allegations in Paragraph 41.

       42.     Joshua and Stephanie Mast are not Muslim and are not Afghan nationals.

ANSWER: Richard Mast admits the allegations in Paragraph 42.


                                              18
       43.    Despite lacking any legitimate legal basis for doing so, in October 2019 Joshua
and Stephanie Mast initiated custody proceedings for Baby Doe in the Juvenile and Domestic
Relations Court of Fluvanna, Virginia (the “Juvenile Court”) and adoption proceedings in
the Fluvanna Circuit Court (the “Circuit Court”), despite the fact that Baby Doe had never
stepped foot on Virginia soil and remained in Afghanistan. Richard Mast represented Joshua
and Stephanie Mast in these proceedings.

ANSWER: Paragraph 43 asserts legal conclusions to which no response is required. To the extent

an answer is required, Richard Mast denies the allegations in Paragraph 43.

       44.    Joshua and Stephanie Mast initiated these proceedings in their county of
residence, even though: (a) they had not obtained legal guardianship of Baby Doe in
Afghanistan; (b) Baby Doe had lived her entire life in Afghanistan; (c) Afghanistan had sole
and exclusive jurisdiction over Baby Doe; and (d) Baby Doe had no connection with the
United States or Virginia.

ANSWER: Richard Mast admits that the Child was an orphan in Afghanistan when he learned of

her plight. Richard Mast otherwise denies the allegations in Paragraph 44.

       45.    By failing to serve notice of the custody and adoption proceedings on the DoD,
which was Baby Doe’s “physical” and “legal” custodian at the time, the Masts violated
Virginia law.

ANSWER: Paragraph 45 asserts legal conclusions to which no response is required. To the extent

an answer is required, Richard Mast denies the allegations in Paragraph 45.

       46.     Joshua and Stephanie Mast, through Richard Mast as counsel, advised both
the Juvenile Court and the Circuit Court that they expected the Government of Afghanistan
to waive its jurisdiction over Baby Doe. In fact, the Government of Afghanistan explicitly
asserted its jurisdiction over the child and requested, and then secured, her release from the
U.S. military facility.

ANSWER: Richard Mast admits he relayed to the Circuit Court the understanding of Joshua and

Stephanie Mast of what the then-existing Afghan Government planned to do at each step of seeking

the custody and adoption of the Masts’ daughter. Richard Mast otherwise denies the allegations in

Paragraph 46.

       47.   The Masts also falsely claimed to both the Juvenile Court and the Circuit
Court that Baby Doe’s birth country and nationality were unknown, that she was a “stateless
minor,” and that she, therefore, was subject to the Virginia courts’ jurisdiction because no



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other court would have jurisdiction. The Masts knew or should have known these claims
were untrue.

ANSWER: Richard Mast denies the allegations in Paragraph 47. The Masts believed, and Richard

Mast continues to so believe, that the great weight of evidence supports the conclusion that the

child was not a citizen of Afghanistan by operation of law, but was in fact the biological daughter

of an Al Qaeda foreign fighter who died in close combat with U.S. Army Rangers.

        48.    At the same time, they claimed to have asked the Government of Afghanistan
to waive jurisdiction over Baby Doe, thereby acknowledging Afghanistan’s jurisdiction in
the first place. In fact, Baby Doe was never stateless. Under the laws of Afghanistan, any
child found in the territory of Afghanistan whose parents’ nationality is unknown is
considered a citizen of Afghanistan. Baby Doe was found in Afghanistan, and, to the extent
her deceased parents’ nationality could not be proven, she was deemed under the laws of
Afghanistan to be an Afghan citizen. The Masts knew, or should have known, that Baby
Doe’s nationality was Afghan under Afghan law.

ANSWER: Paragraph 48 asserts legal conclusions to which no response is required. To the extent

an answer is required, Richard Mast denies the allegations in Paragraph 48.

       49.    On November 6, 2019, relying on the factual and legal misrepresentations
made by the Masts, and without serving the requisite process on the DoD , the Juvenile Court
mistakenly concluded that it had jurisdiction over the case under Virginia Code §§ 20-
146.12(A)(2) and (4) and granted the Masts temporary custody of Baby Doe.

ANSWER: Paragraph 49 asserts legal conclusions to which no response is required. The

referenced rules speak for themselves. Inasmuch as a response is required, Richard Mast admits

that the Juvenile Court concluded that it had jurisdiction over the case under Virginia Code §§ 20-

146.12(A)(2) and (4) and granted the Masts temporary custody of Baby Doe on November 6, 2019.

The remainder of the allegations of Paragraph 49 are denied.

       50.     To reach this conclusion under subsection (A)(2), the Court was required to
have found that a court of the home state of the child had declined jurisdiction. As discussed
above, the Government of Afghanistan had jurisdiction, and had explicitly asserted
jurisdiction over Baby Doe for reunification with her real family.




                                                20
ANSWER: Paragraph 50 asserts legal conclusions to which no response is required. The

referenced rules speak for themselves. Inasmuch as a response is required, Richard Mast denies

the allegations in Paragraph 50.

        51.    Also under subsection (A)(2), the Court was required to have found that both
the child and a person acting as a parent had a significant connection to the Commonwealth
of Virginia. Yet, Baby Doe had no connection to Virginia and Joshua Mast was a stranger to
her. He had no caretaking responsibilities, rights, or bonds of affection that would constitute
a parent-child relationship. Only misrepresentations by the Masts could have led the Court
to conclude otherwise.

ANSWER: Paragraph 51 asserts legal conclusions to which no response is required. The

referenced rules speak for themselves. Inasmuch as a response is required, Richard Mast denies

the allegations in Paragraph 51.

       52.     Finally, under subsection (2), the Court was required to have found that
substantial evidence was available in this Commonwealth concerning the child’s care,
protection, training, and personal relationships. The Masts knew or should have known that
such evidence would be in Afghanistan and made available to the ICRC and the Afghan
government’s Ministry of Labor and Social Affairs, not the Masts.

ANSWER: Paragraph 52 asserts legal conclusions to which no response is required. The

referenced rules speak for themselves. Inasmuch as a response is required, Richard Mast denies

the allegations in Paragraph 52.

       53.     Two days later, Stephanie Mast appeared before the Circuit Court,
represented by her brother-in-law, Richard Mast. Relying on the same, and additional,
factual and legal misrepresentations, the Circuit Court issued an Order directing the State
Registrar of Virginia to issue a Certificate of Foreign Birth for Baby Doe on an expedited
basis for the purpose of obtaining medical care. Stephanie Mast had never met Baby Doe,
and had no firsthand knowledge of Baby Doe’s parents’ identities, her nationality, or even
her medical needs.

ANSWER: Richard Mast admits that he represented his sister-in-law Stephanie Mast, who

appeared before the Circuit Court to provide it with the Masts’ understanding of the child’s plight

and of the relevant facts in Afghanistan. Richard Mast admits that the Juvenile Court “found that

substantial evidence was available in this Commonwealth concerning the child’s care, protection,



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training, and personal relationships.” Richard Mast otherwise denies the allegations in Paragraph

53. Furthermore, Plaintiffs John and Jane Doe had never met Baby Doe and had no firsthand

knowledge of Baby Doe’s parents’ identities, her nationality, or even her medical needs during the

alleged period. John and Jane Doe admitted they had never met the child’s supposed ten siblings,

and had not visited the general area since 2012; and had never met the child’s supposed living

siblings or introduced her to her supposed siblings after February 27, 2020.

       54.    Another two days later, Sunday November 10, 2019, Stephanie Mast appeared
before the Circuit Court, again represented by Richard Mast. The Circuit Court issued an
Interlocutory Order of Adoption that same day, designating Joshua and Stephanie Mast as
Baby Doe’s father and mother.

ANSWER: Richard Mast admits the allegations in Paragraph 54. Furthermore, this petition was

requested by the Virginia Attorney General’s Office to resolve a dispute over the issuance of the

child’s birth certificate required to submit a Humanitarian Parole Visa. The birth certificate was

immediately provided to Headquarters, Marine Corps, and the child was approved as Major Mast’s

dependent with full knowledge she was a patient at the Craig Joint Theatre Hospital at Bagram Air

Field.

      55.    That same day, Stephanie Mast presented the Interlocutory Order of
Adoption and an application for a Certificate of Foreign Birth to the State Registrar, who
promptly issued it, designating Joshua and Stephanie Mast as Baby Doe’s father and mother.
Richard Mast arranged Stephanie Mast’s meeting with the State Registrar.

ANSWER: Richard Mast incorporates the response to paragraph 54, and otherwise admits the

allegations in Paragraph 55.

       56.    On October 24, 2019, Baby Doe’s maternal uncle submitted a request to the
ICRC through its Restoring Family Links Program for assistance in returning Baby Doe to
her extended family.

ANSWER: Richard Mast denies the allegations of Paragraph 56 to the extent they assert that

Baby Doe is related to John Doe directly or indirectly. Further, Richard Mast lacks knowledge or




                                                22
information sufficient to form a belief about the truth of all of the allegations in Paragraph 56 and

on that basis denies them.

     57.     On November 17, 2019, the Afghan Ministry of Labor and Social Affairs
documented its official involvement in the search for Baby Doe’s biological family.

ANSWER: Richard Mast lacks knowledge or information sufficient to form a belief about the

truth of the allegations in Paragraph 57 and on that basis denies them.

        58.    The ICRC worked to verify the family’s relationship with Baby Doe and
facilitated the family’s contact with the Afghan government. The ICRC’s efforts to reunite
Baby Doe with her biological family came to fruition when it located her paternal uncle, John
Doe’s father. Under the laws of Afghanistan (like the laws in many other Muslim countries),
legal guardianship of an orphan is transferred to the child’s paternal uncle (in the absence
of a paternal grandfather or a brother).

ANSWER: Richard Mast denies the allegations of Paragraph 58 to the extent they allege a

biological relationship between Baby Doe and John Doe or his father. Richard Mast lacks

knowledge or information sufficient to form a belief about the truth of the remaining allegations

in Paragraph 58 and on that basis denies them.

       59.     In late December 2019 or early January 2020, the Afghan Deputy Minister of
Social Affairs met with U.S. State Department’s Assistant Chief of Mission in Kabul, Donna
Welton, and informed her that the Afghan government had identified Baby Doe’s family.

ANSWER: Richard Mast lacks knowledge or information sufficient to form a belief about the

truth of the allegations in Paragraph 59 and on that basis denies them. Furthermore, the then

existing Afghan government expressly requested Donna Welton fulfil the U.S. commitment to

DNA test potential relatives in late December 2019 because there was no evidence the claimant

was related to the child.

       60.     On January 5, 2020, Ms. Welton wrote an email to the Deputy Minister
stating: “We stand ready to transfer custody of the infant following an official request from
the Afghan government. This is a high priority for our government and we would kindly
request that the Ministry of Labor and Social Affairs expedite this official request so that the
infant can be reunited with her family members as soon as possible” (emphasis added).




                                                 23
ANSWER: Richard Mast lacks knowledge or information sufficient to form a belief about the

truth of the allegations in Paragraph 60 and on that basis denies them.

       61.    In February 2020, Afghanistan’s Acting Minister of Labor and Social Affairs
informed the Director of Social Security within the Ministry of Labor and Social Affairs,
Directorate of [REDACTED], that Baby Doe was to be “reintegrated into her family.”

ANSWER: Richard Mast lacks knowledge or information sufficient to form a belief about the

truth of the allegations in Paragraph 61 and on that basis denies them.

       62.     Upon learning of Baby Doe’s impending release on February 26, 2020, to her
biological family in Afghanistan, the Masts filed a pseudonymous Complaint and Petition for
a Temporary Restraining Order (the “TRO Petition”) in this Court, the United States
District Court for the Western District of Virginia, naming as defendants the DoD, the U.S.
Department of State (the “DoS”), the Assistant Chief of Mission of the United States
Embassy-Kabul, and various unknown persons. Richard Mast’s signature block on the TRO
Petition identifies his employer as “Liberty Counsel.”

ANSWER: Richard Mast admits he filed suit seeking a Temporary Restraining Order on behalf

of Joshua Mast, Stephanie Mast, and Baby Doe to prevent an objectively dangerous transfer of the

child without DNA testing and terrorist vetting to what has proven to be a non-relative, terrorist

affiliated person. The Virginia Circuit Court has previously held the Does have failed to

demonstrate a biological relationship, and John Doe’s father’s Taliban flag displayed on his

WhatsApp profile was admitted into evidence. John and Jane Doe are not biologically related to

the child, and were unknown to the U.S. government, ICRC, and MOLSA during all relevant

periods. Richard Mast admits his signature block speaks for itself and otherwise denies the

allegations in Paragraph 62.

       63.    In the TRO Petition, the Masts sought to enjoin the United States government
from releasing Baby Doe from its custody to the Government of Afghanistan for
reunification with her biological family, relying on their fraudulently obtained Juvenile
Court custody order as a basis for this request.

ANSWER: Richard Mast admits seeking to enjoin the U.S. government from releasing the Child

without DNA testing and terrorist vetting given the extraordinary circumstances of the recovery



                                                24
and the origin of her skull fracture from a suicide vest detonation at an Al Qaeda compound. John

Doe and Jane Doe were unmarried, unknown strangers to the child who have never proven any

biological relationship and declined DNA tests since their arrival in the United States. Richard

Mast otherwise denies the allegations in Paragraph 63.

       64.    Within hours of docketing the TRO Petition, U.S. District Judge Norman K.
Moon convened a hearing at which Richard Mast represented Joshua and Stephanie Mast,
and the U.S. Department of Justice (the “DOJ”) represented the DoD and the DoS.

ANSWER: Richard Mast admits the allegations in Paragraph 64.

       65.     During the hearing, Richard Mast falsely represented to the Court that Joshua
and Stephanie Mast were not seeking to adopt Baby Doe, but instead were interested only in
bringing her to the United States for the purposes of medical treatment. Having just
represented Joshua and Stephanie Mast in the Fluvanna Circuit Court to obtain an
interlocutory order of adoption, Richard Mast knew that his representation to Judge Moon
was false. So, too, did Joshua and Stephanie Mast. Neither Joshua Mast, Stephanie Mast,
nor Richard Mast informed this Court or the United States government of the pending
adoption proceedings.

ANSWER: Richard Mast denies the allegations of Paragraph 65.

        66.    For their part, the DOJ attorneys described the Juvenile Court custody order
as “unlawful,” “deeply flawed and incorrect,” and apprised Judge Moon that the Masts had
failed to serve the DoD and the DoS with notice of the custody proceedings.

ANSWER: Richard Mast admits the allegations in Paragraph 66 insofar as they reflect the

inaccurate representations by the DOJ attorneys.

        67.     The DOJ attorneys also advised Judge Moon that, while Baby Doe was in the
physical custody of the U.S. government to receive emergency medical care, she remained
subject to the jurisdiction of the Government of Afghanistan, which had “determined that
it’s not going to waive jurisdiction because it has located that relative.”

ANSWER: Richard Mast admits the allegations in Paragraph 67 insofar as they reflect the

inaccurate representations by the DOJ attorneys.

       68.     Furthermore, the DOJ attorneys noted that “if the United States had been
involved in th[e custody] proceeding as it should have been since it had custody . . . we would
have been able to correct some of the factual errors that were happening there.”




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ANSWER: Richard Mast admits the allegations in Paragraph 68 insofar as they reflect the

inaccurate representations by the DOJ attorneys.

        69.     Unsurprisingly, Judge Moon denied the request for a TRO that same day,
finding that Joshua and Stephanie Mast were unlikely to prevail on the underlying cause of
action. In so doing, Judge Moon observed that: (a) the Juvenile Court orders were
“foundational to plaintiffs’ asserted authority to care” for Baby Doe, but they “reflect an
assumption” that the Government of Afghanistan would issue a waiver of jurisdiction, which
it did not do; (b) as custodian of Baby Doe, the DoD “should have been formally served with
and provided notice of the proceedings”; and (c) the Masts had failed to “proceed through
proper channels,” including obtaining the consent of the Afghan government and obtaining
a visa for Baby Doe to enter the United States.

ANSWER: Richard Mast admits Judge Moon denied the request for a TRO. To the extent that

the allegations in Paragraph 69 quote that order, that order speaks for itself and no response is

required. Inasmuch as a response is required, Richard Mast denies the allegations in Paragraph 69.

        70.   The next day, February 27, 2020, the DOJ filed a notice with the federal court
advising that Baby Doe had been released from U.S. custody for reunification with her “next
of kin.”

ANSWER: Richard Mast admits the DOJ filed a notice. To the extent that the allegations in

Paragraph 70 quote that notice, the notice speaks for itself and no response is required. Inasmuch

as a response is required, Richard Mast denies the allegations in Paragraph 70. John and Jane Doe

are not biologically related to the child. John and Jane Doe were unknown to the U.S., ICRC, or

Afghan government during any relevant period. Furthermore, the United States admitted in the

same proceeding it could not and did not corroborate any purported relationship.

          71.   At that time, Baby Doe was placed in the care of her paternal uncle, John Doe’s
father.

ANSWER: Richard Mast denies the allegations in Paragraph 71.

       72.     Concerned that Baby Doe would require ongoing medical care, Baby Doe’s
paternal uncle transferred his guardianship of Baby Doe, pursuant to his authority under
the laws of Afghanistan, to his son and daughter-in-law, John and Jane Doe. Baby Doe’s
paternal uncle believed that John and Jane Doe were best suited to care for Baby Doe because
they were a young, educated couple who lived in a larger, more cosmopolitan area, with
better access to doctors and hospitals than the rural region of Afghanistan where he lived.


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ANSWER: Richard Mast denies the allegations in Paragraph 72.

       73.    Though they themselves were young newlyweds who had not yet had biological
children, John and Jane Doe agreed to welcome Baby Doe into their family and raise her as
their own child.

ANSWER: Richard Mast denies the allegations in Paragraph 73. Jane Doe was 17 years old and

an unmarried minor child living in her parents’ home with at least twenty-three immediate and

extended family members with the child while attending high school through October 2020. Prior

to becoming engaged to be married to defendant John Doe in October 2019, Jane Doe had never

met John Doe and had spoken to him approximately five times via telephone. Despite similar

representation in the Virginia Court, as well as a fraudulent identity document presented to allege

Jane Doe was two years older than her actual age sworn under oath (and therefore not a minor

child lacking legal capacity during all relevant periods,) the Circuit Court held that there was “no

question” that Jane Doe was unmarried when the child started living with her extended family. In

addition, John Doe represented he hired a woman to take care of the child, and that the child did

not live with John Doe, Jane Doe, or John Doe’s father. Jane Doe admitted on her Facebook profile

that she was married on October 13, 2020. Finally, Jane Doe admitted to both Joshua and

Stephanie Mast that she was mocked by girls in her high school class for taking care of a child

when she did not have a husband.

        74.     John and Jane Doe provided everything for Baby Doe that a parent would
provide, including food, milk, diapers, and arranging medical care. Most importantly, they
loved Baby Doe like they would love their own biological child. After more than five months
of living in a medical institution on a military base, Baby Doe was finally surrounded by the
love of a family, with grandparents and young aunts and uncles who also adored her.
Plaintiffs John and Jane Doe continued to raise Baby Doe as their first child for eighteen
months, until the very moment of her abduction on September 3, 2021.

ANSWER: Richard Mast denies the allegations in Paragraph 74, and incorporates by reference

the answer to Paragraph 73. Furthermore, there is significant evidence of neglect, abuse, and lack

of medical care of the child while she was purportedly in John Doe and Jane Doe’s care.


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       75.    Having failed to prevent Baby Doe’s reunification with her biological family
in Afghanistan, and having failed thus far to obtain physical custody of Baby Doe, Joshua
and Stephanie Mast pursued a new strategy: convince Baby Doe’s family to let her travel to
the United States, where Joshua and Stephanie Mast could abduct her and raise her as their
own child.

ANSWER: Richard Mast denies the allegations in Paragraph 75.

       76.    In the fall of 2019, Joshua Mast and Stephanie Mast reached out to Kimberley
Motley, a U.S. citizen and attorney who had worked in Afghanistan, to assist in their efforts
to bring Baby Doe to the United States. Joshua Mast identified himself as a U.S. Marine
stationed in Kabul who sought to remove Baby Doe from Afghanistan. He advised Motley
that he and Stephanie Mast intended to adopt Baby Doe.

ANSWER: Richard Mast admits the allegations in paragraph 76 to the extent that Joshua and

Stephanie Mast communicated with Kimberley Motley in the fall of 2019 while Joshua was a

Marine stationed in Afghanistan, after Ms. Motley had reached out to USFOR-A to serve as a

guardian ad litem for the child. Richard Mast denies the rest of the allegations in Paragraph 76.

       77.   Between October 25-27, 2019, Joshua Mast and Motley communicated
numerous times through emails and phone calls to share information about a shared desire
to remove Baby Doe from Afghanistan. In the course of their email exchange, Joshua Mast
acknowledged that he needed approval from the Government of Afghanistan to obtain a visa
for Baby Doe to travel to the United States.

ANSWER: Richard Mast is without sufficient personal knowledge and therefore denies the

allegations in Paragraph 77.

       78.    Motley, who previously learned of Baby Doe through another U.S.
servicemember and was representing herself as a “guardian ad litem” for Baby Doe (despite
there being no court order naming her as such, and despite that Afghan law does not provide
for “guardians ad litem”), asked the Government of Afghanistan to secure citizenship
documentation for Baby Doe as an Afghan citizen, including a passport and “tashkira” (an
Afghan identification document).

ANSWER: Richard Mast lacks sufficient personal knowledge or information sufficient to form a

belief about the truth of the allegations in Paragraph 78 and on that basis denies them. In addition,

Mrs. Motley is a well-known humanitarian lawyer who has represented underprivileged women

and children in Afghanistan at great personal risk on numerous occasions. In addition, Mrs. Motley



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successfully assisted hundreds of at-risk refugees flee the Taliban during the evacuation –

including John Doe and Jane Doe.

       79.     On February 27, 2020, the day the United States released Baby Doe to the
Afghan Government and the ICRC for reunification with her family, Joshua Mast advised
Motley that he needed help to “handle [Baby Doe’s] situation privately” by locating her
relatives, contacting them, offering them medical care, and then bringing the child out of
Afghanistan to the United States, where the Masts had already successfully petitioned a
Virginia Court for legal custody over the child.

ANSWER: Richard Mast admits successfully petitioning a Virginia Court for legal custody over

the child; Richard Mast denies Baby Doe’s “reunification with her family” occurred on February

27, 2020, or any other day, or that relatives of the child were located; Defendant Richard Mast is

without sufficient personal knowledge to admit or deny remainder and therefore denies the

allegations in Paragraph 79.

       80.     That same day, Joshua Mast provided Motley with a copy of an official
diplomatic communication from the Government of Afghanistan to an official with the U.S.
Department of Defense, formally requesting the return of Baby Doe to their physical custody
for reunification with her family in Afghanistan. By this time, Motley also had received a
copy of the Masts’ Juvenile Court order, which she knew was void because it was expressly
conditioned on a waiver of jurisdiction from the Government of Afghanistan, and the
diplomatic communication that Mast sent her showed that the Government of Afghanistan
was affirmatively asserting jurisdiction over Baby Doe, not waiving it.

ANSWER: Richard Mast lacks knowledge or information sufficient to form a belief about the

truth of the allegations related to Motley in Paragraph 80 and on that basis denies them. Richard

Mast denies the remainder of the allegations of Paragraph 80.

        81.    In addition, in spite of her prior recognition that Baby Doe was an Afghan
citizen, and her knowledge that the Government of Afghanistan had demanded her return
for reunification with her family and that the United States had agreed, Motley agreed to
work with the Masts as they implemented their plan.

ANSWER: Richard Mast lacks knowledge or information sufficient to form a belief about the

truth of the allegations related to Motley in Paragraph 81 and on that basis denies them. Richard

Mast otherwise denies the allegations in Paragraph 81.



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        82.     Joshua Mast provided Motley with information he received about the
identities of the people to whom Baby Doe was transferred. Motley used this information to
find a contact who could connect her with John and Jane Doe.

ANSWER: Richard Mast lacks knowledge or information sufficient to form a belief about the

truth of the allegations related to Motley in Paragraph 82 and on that basis denies them.

       83.     On or about March 6, 2020, just days after Baby Doe was united with her
family, Motley called John Doe for the first time, pursuant to her agreement with, and at the
direction of, Joshua and Stephanie Mast.

ANSWER: Richard Mast lacks knowledge or information sufficient to form a belief about the

truth of the allegations related to Motley in Paragraph 83 and on that basis denies them.

       84.   In their initial introductions to Motley in March 2020, John and Jane Doe
described themselves to Motley as Baby Doe’s “cousin,” and “the wife of [John Doe] and the
mother of [Baby Doe],” respectively.

ANSWER: Richard Mast lacks knowledge or information sufficient to form a belief about the

truth of the allegations in Paragraph 84 and on that basis denies them.

       85.    In a subsequent conversation that same day, Motley advised Jane Doe that she
understood Baby Doe had serious medical issues and that Motley knew an American family
who wanted to help her. Pursuant to her agreement with Joshua and Stephanie Mast, Motley
did not disclose the Masts’ custody order and interlocutory adoption order for Baby Doe,
and did not disclose the Masts’ intention to adopt Baby Doe or that the Masts had initiated
court proceedings to do so.

ANSWER: Richard Mast lacks knowledge or information sufficient to form a belief about the

truth of the allegations in Paragraph 85 and on that basis denies them.

       86.    Five days later, the Masts filed a brief relating to their rejected TRO Petition,
but did not disclose to the Court that they were in contact with John and Jane Doe through
Motley or that Baby Doe was with her biological family and legal guardians in Afghanistan.

ANSWER: Defendant Richard Mast admits filing a notice of voluntary dismissal of the TRO suit

on March 11, 2020; Defendant Richard Mast admits filing a response to the court’s order for

further briefing on motion to proceed under seal and proceed under pseudonyms notwithstanding

the notice of voluntary dismissal; Defendant Richard Mast is without personal knowledge of



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whether Joshua and Stephanie Mast “were in contact with John and Jane Doe through Motley” and

therefore denies this aspect of the allegations; Defendant Richard Mast admits Baby Doe was in

Afghanistan, but denies “Baby Doe was with her biological family” and denies that “Baby Doe

was with…her legal guardians.” Richard Mast otherwise denies the allegations in Paragraph 86.

John Doe and Jane Doe are not biologically related to the child. John Doe and Jane Doe are not

legal guardians of the child under any theory of law. Furthermore, the Masts fully disclosed to the

Virginia Circuit Court their understanding of where the child was, who she was with, and the

child’s medical symptoms Jane Doe had described as her “shaking” at night and during the day,

and her eyes “twitching.”

      87.   On March 22, 2020, Joshua Mast wired a $4,500 payment to Motley via PayPal
and messaged her to confirm that she received the funds.

ANSWER: Defendant Richard Mast is without personal knowledge of whether Joshua Mast

wired any payment to Kimberley Motley and therefore denies.

        88.    Motley continued to communicate with and befriend John and Jane Doe on
behalf of the Masts over the course of more than a year, making multiple offers to assist with
Baby Doe’s medical care and occasionally asking for photographs of Baby Doe. Motley did
so at the direction of Joshua and Stephanie Mast and received thousands of dollars to do so.

ANSWER: Richard Mast lacks knowledge or information sufficient to form a belief about the

truth of the allegations related to Motley in Paragraph 88 and on that basis denies them.

       89.     Motley also continued to hide the identity of the person or people purportedly
willing to help Baby Doe, or that Joshua and Stephanie Mast had obtained a custody order
and an interlocutory adoption order for Baby Doe.

ANSWER: Richard Mast lacks knowledge or information sufficient to form a belief about the

truth of the allegations in Paragraph 89 and on that basis denies them.

      90.     On July 30, 2020, and in response to one of Motley’s requests for photos, Jane
Doe sent her photographs of Baby Doe in swim trunks in a small wading pool.




                                                31
ANSWER: Richard Mast lacks personal knowledge or information sufficient to form a belief

about the truth of the allegations in Paragraph 90 and on that basis denies them.

       91.    At the same time Motley was communicating with and befriending John and
Jane Doe at the behest of Joshua and Stephanie Mast, the Masts continued pursuing a final
order of adoption in the Circuit Court.

ANSWER: Richard Mast admits the allegations in Paragraph 91 to the extent he pursued a final

adoption order in the Circuit Court to create a legal path to the United States before the Taliban

took over Afghanistan. Richard Mast denies the remaining allegations in Paragraph 91.

       92.     The Masts did so despite knowing that: (a) Baby Doe was in the custody of
individuals determined by the Government of Afghanistan and ICRC to be her biological
family and legal guardians under the laws of Afghanistan; (b) Joshua and Stephanie Mast
had not obtained an order of custody or guardianship over Baby Doe in Afghanistan; (c) the
Afghan government had asserted jurisdiction over Baby Doe; (d) this Court, the United
States District Court for the Western District of Virginia, had characterized the Juvenile
Court custody order as falsely premised upon the existence of a waiver of jurisdiction by the
Afghan government; and (e) the DoD (Baby Doe’s former custodian and Joshua Mast’s
employer) and the DoS (the agency that oversees intercountry adoptions) regarded the state
court orders as “unlawful.” Upon information and belief, the Masts intentionally failed to
advise the Circuit Court of any of these facts.

ANSWER: Richard Mast denies that Baby Doe was in the custody of individuals determined by

the Government of Afghanistan and ICRC to be her biological family and legal guardians under

the laws of Afghanistan. Richard Mast denies that he failed to advise the Circuit Court of any

relevant facts. The remainder of the allegations assert legal conclusions to which no response is

required. To the extent a response is required, the remainder of the allegations of Paragraph 92

are denied.

       93.    On December 3, 2020, nine months after Baby Doe had been reunited with her
family in Afghanistan, and as a direct result of the Masts’ omissions and misrepresentations,
the Circuit Court entered a final order of adoption for Joshua and Stephanie Mast,
incorrectly finding that Baby Doe “remains up to this point in time an orphaned,
undocumented, stateless minor,” and therefore “has the legal identity granted by order of
this Court as constituting her sole legal identity.” At the time of the order, neither Joshua
and Stephanie Mast, Richard Mast, nor anyone else had informed John Doe or Jane Doe of
the pendency of those proceedings. Nor had anyone informed the United States – despite this
Court’s denial of Joshua and Stephanie Mast’s request for a TRO, and despite Richard


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Mast’s express representation to this Court (in the presence of United States’ counsel) that
Joshua and Stephanie Mast did not intend to adopt Baby Doe – that Joshua and Stephanie
Mast had in fact continued to pursue Baby Doe’s adoption.

ANSWER: Richard Mast admits the Fluvanna County Circuit Court entered a final adoption

order, which placed the Child with the Masts—a place where she remains today. To the extent that

the allegations in Paragraph 93 quote that order, that order speaks for itself and no response is

required. Inasmuch as a response is required, Richard Mast denies the allegations in Paragraph 93.

       94.    After Joshua Mast met Ahmad Osmani in 2021 through a WhatsApp Bible
study group, Osmani offered to help Joshua and Stephanie Mast bring Baby Doe to the
United States so that they may raise her as their daughter.

ANSWER: Richard Mast is without personal knowledge as to the allegations in Paragraph 94 and

therefore denies the allegations in Paragraph 94.

        95.    On February 2, 2021, Stephanie Mast emailed Joshua Mast an altered photo
of Baby Doe for use in obtaining an Afghan passport for Baby Doe. The photo was nearly
identical to the photo of Baby Doe that Jane Doe sent to Kimberley Motley, see supra ¶ 90.
However, the photo that Stephanie Mast emailed to Joshua Mast had been altered to add a
shirt, remove the background content, and be reformatted as a passport photo. Joshua Mast
forwarded Stephanie Mast’s email and the altered photo to Ahmad Osmani to be conveyed
to his contact in the Afghan passport office.

ANSWER: Richard Mast is without personal knowledge as to the allegations in Paragraph 95 and

therefore denies the allegations in Paragraph 95.

       96.    In March 2021, Osmani assisted Joshua and Stephanie Mast in obtaining a
fake Afghan passport for Baby Doe. Joshua and Stephanie Mast wired more than $1,000 to
Osmani, who then wired those funds to a contact in Afghanistan to pay for the procurement
of the fake Afghan passport with a fake Americanized name that featured the Masts last
name.

ANSWER: Richard Mast is without personal knowledge as to the allegations in Paragraph 96 and

therefore denies the allegations in Paragraph 96.

      97.     Osmani knew that Baby Doe was living with her biological family in
Afghanistan. In fact, during his first encounter with Osmani and Joshua Mast, John Doe told
Osmani and Joshua Mast that John Doe is Baby Doe’s cousin. Osmani even identified John
Doe as the child’s cousin in the contact information Osmani stored in his phone for John
Doe.


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ANSWER: Richard Mast lacks knowledge or information sufficient to form a belief about the

truth of the allegations in Paragraph 97 and on that basis denies them. Richard Mast denies that

John Doe and Jane Doe are biologically related to the child.

       98.     On July 10, 2021, Motley offered for the first time to introduce John and Jane
Doe to the American family supposedly interested in providing medical care for Baby Doe.
Motley then facilitated a telephone conversation between John and Jane Doe and Joshua
Mast, during which Ahmad Osmani provided interpretation. Mast told John and Jane Doe
that he was familiar with Baby Doe’s medical needs and warned them that, if Baby Doe did
not receive medical care in the United States, she could be blind, brain damaged, and/or
permanently physically disabled. In the course of their conversations, Mast claimed to be a
volunteer in the U.S. military hospital who was responsible for her care while she was
hospitalized there.

ANSWER: Defendant Richard Mast is without personal knowledge as to any of the allegations

contained in Paragraph 98 and on that basis denies them.

        99.    John Doe, who trained as a nurse in Afghanistan, was not aware of the medical
issues that Mast described. But John and Jane Doe were concerned about the scarring on
Baby Doe’s face from the burns she sustained, Baby Doe’s irregular gait due to the leg injury
she sustained, and the severe allergic reactions of unknown origin that she seemed to
periodically suffer.

ANSWER: Richard Mast lacks knowledge or information sufficient to form a belief about the

truth of the allegations in Paragraph 99 and on that basis denies them.

       100. Mast insisted that Baby Doe would suffer serious, permanent harm if she were
not brought to the United States for special treatment. In that initial conversation and in
other subsequent conversations, Mast asked John and Jane Doe to send Baby Doe to the
United States for medical treatment. They declined because they did not want to be separated
from their daughter.

ANSWER: Defendant Richard Mast is without personal knowledge as to any of the allegations

contained in Paragraph 100 and on that basis denies them.

        101. By July 2021, Jane Doe was in the third trimester of pregnancy and concerned
about traveling to the United States. As a result, John and Jane Doe asked Mast if he would
be willing to facilitate their taking Baby Doe to India or Pakistan for medical care, where he
could pay doctors or hospitals directly, without providing any money to John and Jane Doe.
Mast declined, insisting that hospitals in India and Pakistan did not have the specialists
required to help Baby Doe.



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ANSWER: Richard Mast is without personal knowledge and therefore denies the allegations in

Paragraph 101.

       102. Over time and over the course of other telephone conversations and written
communications, Ahmad Osmani helped Joshua and Stephanie Mast foster a relationship of
trust with John and Jane Doe. Osmani also had conversations with the Does on other
occasions in which the Masts did not participate. Osmani routinely referred to John Doe as
his “brother.” John and Jane Doe trusted Osmani, an Afghan who spoke their native
language, when he told them that the Masts were trustworthy people with no ulterior motives
who just wanted to help Baby Doe receive medical care. Upon information and belief,
Osmani maintained contact with John and Jane Doe and reported back to Joshua Mast at
his direction about his conversations with the Does. Unbeknownst to John and Jane Doe,
Osmani was not the impartial interpreter he made himself out to be. Rather, Osmani knew
that the Masts intended to take Baby Doe from her biological family, and Osmani helped
them do so.

ANSWER: Richard Mast lacks knowledge or information sufficient to form a belief about the

truth of the allegations in Paragraph 102 and on that basis denies them.

       103. Joshua Mast also repeatedly referred to John Doe as his “brother” and insisted
he only wanted to help Baby Doe obtain needed medical care. Based on the repeated
warnings of Joshua and Stephanie Mast about Baby Doe’s medical needs, and based on the
repeated assurances by Osmani that the Masts were honest people who just wanted to help
Baby Doe, John and Jane Doe began to fear that she would suffer long-term consequences if
they did not obtain specialist care for her.

ANSWER: Defendant Richard Mast is without personal knowledge as to any of the allegations

contained in Paragraph 103 and on that basis denies them.

        104. Neither Joshua Mast, Stephanie Mast, Motley, nor Osmani disclosed to John
and Jane Doe at this time that the Masts had (unsuccessfully) filed a legal action in the United
States to prevent Baby Doe’s reunification with her biological family and legal guardians in
Afghanistan, or that the Masts had obtained an order of adoption for Baby Doe in a Virginia
court. Instead, Joshua and Stephanie Mast misrepresented that they wanted to bring Baby
Doe to the United States solely so that she could receive medical treatment and for the sake
of doing something good.

ANSWER: Defendant Richard Mast is without personal knowledge as to any of the allegations

contained in Paragraph 104 and on that basis denies them.

      105. In August 2021, as U.S. troops withdrew and the Taliban began to retake
Afghanistan, Joshua and Stephanie Mast again reached out to John and Jane Doe to convince
them to bring Baby Doe to the United States for medical treatment. Given the political


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situation in Afghanistan and the Taliban’s advances, John and Jane Doe believed this could
be their last and only chance to obtain medical care for Baby Doe. As a result, they advised
Joshua Mast that they were considering his proposal, but were concerned that they would
not be able to return to Afghanistan.

ANSWER: Defendant Richard Mast is without personal knowledge as to any of the allegations

contained in Paragraph 105 and on that basis denies them.

      106. Joshua Mast and Ahmad Osmani assured them that they would need to be in
the United States for Baby Doe’s medical care for only two or three months and that they
would then be able to re-enter Afghanistan without issue. Again, Joshua Mast and Ahmad
Osmani failed to inform John and Jane Doe about the adoption order he and his wife and
brother had fraudulently obtained from a Virginia court or their previous attempts to
prevent Baby Doe from being reunited with her biological family and legal guardians in
Afghanistan. Rather, Mast and Osmani continued to misrepresent that the Masts merely
wanted to bring Baby Doe to the United States solely to provide her with medical care.

ANSWER: Defendant Richard Mast is without personal knowledge as to any of the allegations

contained in Paragraph 98 and on that basis denies them. Moreover, this allegation is frivolous

and absurd on its face. The Taliban had completely taken over Afghanistan, there were refugees

falling from the bottom of aircraft to their deaths, revenge killings, and tens of thousands of

internally displaced persons throughout Afghanistan at this time, and no commercial flights out of

the entire country. It is incredulous to assert the Does believed, or that Joshua Mast represented,

that anyone could return to Afghanistan under those conditions.

       107. In reliance on Joshua Mast’s misrepresentations regarding the purpose and
duration of their travel, as well as their ability to return to Afghanistan, ignorant of Mast’s
and his wife’s true intentions, and in reliance on Osmani’s reassurances, John and Jane Doe
agreed to travel to the United States for the purpose of obtaining medical care for Baby Doe.

ANSWER: Richard Mast denies the allegations in Paragraph 107.

      108. Joshua Mast informed John and Jane Doe that he would prepare immigration
paperwork for them and Baby Doe to permit them to enter the United States for the purpose
and duration of Baby Doe’s medical care.

ANSWER: Defendant Richard Mast is without personal knowledge as to any of the allegations

contained in Paragraph 108 and on that basis denies them.



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       109. In fact, Mast did not file the appropriate immigration paperwork for John and
Jane Doe and Baby Doe for the purpose of having them visit the United States for a short
duration to obtain medical care for Baby Doe. Instead, on August 20, 2021 and unbeknownst
to John and Jane Doe, Richard Mast emailed U.S. Citizenship and Immigration Services
(“USCIS”) a Form I¬360 Petition for Plaintiff John Doe. Upon information and belief, the
form was prepared at the direction of Joshua and Stephanie Mast by Natalie Osmani, Ahmad
Osmani’s wife. Ms. Osmani signed the petition as its preparer, but listed Defendant Joshua
Mast as the person acting on behalf of the petitioner, and provided Mast’s North Carolina
home address as a mailing address.

ANSWER: Defendant Richard Mast admits emailing U.S. Citizenship and Immigration Services

(“USCIS”) a Form I360 Petition for Plaintiff John Doe under the exigent circumstances on August

20, 2021 surrounding the fall of the former Afghan Government. Richard Mast is without personal

knowledge, and therefore denies, the allegations regarding the form’s preparation, including at

whose direction the form was prepared; and who ultimately signed it; the form speaks for itself.

       110. In addition, Ms. Osmani wrote by hand the following visa category: “Special
Immigrant Afghanistan national escorting military dependent.” Not only does no such visa
category exist, but it was false to claim that John Doe would be escorting a U.S. “military
dependent” when the United States had by this time represented to this Court that it did not
recognize any custodial relationship between Joshua Mast, Stephanie Mast and Baby Doe.

ANSWER: Defendant Richard Mast is without personal knowledge as to any of the allegations

contained in Paragraph 110 relating to Ms. Osmani and on that basis denies them. Richard Mast

denies the allegations in Paragraph 110. The remainder of Paragraph 110 asserts legal conclusions

to which no response is required. Inasmuch as a response is required, Richard Mast denies the

allegations in Paragraph 110.

        111. Upon information and belief, John and Jane Doe nonetheless were placed on
a list of potential evacuees with pending Special Immigrant Visa Applications as a result of
the petition.

ANSWER: Richard Mast lacks knowledge or information sufficient to form a belief about the

truth of the allegations in Paragraph 111 and on that basis denies them.




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      112. In his August 20, 2021, email to the USCIS, Richard Mast falsely wrote: “[John
and Jane Doe] are helping US DoD at great risk to themselves, and have cared for a minor
DoD dependent child ([Baby Doe]) who has serious medical needs.”

ANSWER: Richard Mast admits the writing referenced in paragraph 112 because the statements

were truthful and based on John Doe’s repeated representation (on audio tape) that he and his

family were in great danger if his photo was published with the child because they had disobeyed

the Taliban in bringing the child to U.S. forces. Richard Mast denies this writing is or was false.

       113. Of course, by then Baby Doe was not a “minor DoD dependent child,” because
she had been returned to her family in the exercise of the Government of Afghanistan’s
jurisdiction. Instead, John and Jane Doe were by then Baby Doe’s legal guardians, raising
her as their own child; they were not “caring” for her on behalf of Joshua and Stephanie
Mast, the DoD, or anyone else. Nor were they doing so as a “service to the US Government.”

ANSWER: Richard Mast denies the allegations in Paragraph 113.

       114. In another email to USCIS seeking the evacuation of Ahmad Osmani’s siblings
to the United States, Richard Mast wrote that Osmani’s siblings were the “family of an
Afghan pastor” who had been “very instrumental to helping a US Marine” represented by
Liberty Counsel “adopt an Afghan child.” Upon information and belief, the reference to a
“US Marine” is a reference to Joshua Mast, and the reference to “an Afghan child” is a
reference to Baby Doe.

ANSWER: Richard Mast admits sending an email seeking evacuation of Ahmad Osmani’s minor

siblings under the exigent circumstances of August 2021 surrounding the fall of the former Afghan

Government.

      115. John and Jane Doe were not aware of the misrepresentations being made by
Richard Mast, on behalf of Joshua and Stephanie Mast, about them and Baby Doe.

ANSWER: Richard Mast denies the allegations in paragraph 115. Richard denies making

“misrepresentations.” The Does were fully aware that the only possibility of their evacuation from

Afghanistan was to disobey the Taliban and bring the child to U.S. forces – which is why they

registered the child using her U.S. name and date of birth at every stage of the evacuation.




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        116. The Does traveled to Kabul on August 23, 2021, to spend the night there with
Osmani’s parents and siblings, at the direction of Joshua Mast and Osmani. The next
morning, the Does traveled to Hamid Karzai International Airport as part of the evacuation
efforts under Operation Allies Refuge. Osmani’s siblings accompanied them.

ANSWER: Richard Mast is without personal knowledge as to whether and how the Does traveled

to Kabul on August 23, 2021, “at the direction of Joshua Mast and Osmani” or otherwise on their

own volition and on that basis denies the allegations. Richard Mast denies the “the Does traveled

to Hamid Karzai International Airport.”

       117. Between August 24 and August 26, 2021, Joshua Mast and Osmani continued
to communicate with John and Jane Doe over WhatsApp as they transited from Afghanistan
to the United States through Qatar and Germany.

ANSWER: Defendant Richard Mast is without personal knowledge as to whether and how Joshua

Mast and Osmani continued to communicate with John and Jane Doe over WhatsApp” as they

“transited from Afghanistan to the United States through Qatar and Germany,” and therefore

denies the allegations in Paragraph 117.

       118. Again, Joshua Mast and Osmani failed to inform John and Jane Doe about the
adoption order that Joshua and Stephanie Mast had obtained from a Virginia court or their
previous attempts to prevent Baby Doe from being reunited with her biological family and
legal guardians in Afghanistan. Rather, they continued to misrepresent that the Masts
wanted to bring Baby Doe to the United States only to provide her with medical care.

ANSWER: Richard Mast denies the allegations in Paragraph 118. The Virginia Circuit Court has

previously ruled that the Masts used the strongest words for legal responsibility over a child in

Pashto when describing their legal relationship to the child.

       119. On August 26, 2021, as Plaintiffs were in transit to the United States, Joshua
Mast sent a WhatsApp voice note to Jane Doe, instructing her to tell anyone who asks that
he was their lawyer. He also sent her a text stating:

               If anyone asks to talk about your documents, show them this
               text: I am Major Joshua Mast, USMC. I am a Judge Advocate
               with MARSOC, and I am here at Ramstein to provide this group
               of 6 pax with their original documents and escort them through
               the process. MARSOC coordinated a JSOC operation to extract



                                                39
              them to Kabul airport three days ago, and I am tracking them
              down for the above purpose.

ANSWER: Defendant Richard Mast is without personal knowledge as to any of the allegations

contained in Paragraph 119 and on that basis denies them.

      120. At approximately the same time, Mast left John Doe a voice message, assuring
him he would get them to the United States, and stating:

              [I]f someone tries to talk about documents, we want to come and
              show them all the forms that we filed for you all to get to
              America instead of staying here in Germany. So before you talk
              to them about it, say “we have a lawyer here to talk with you
              about that for us” and that’s me. Just show them the text and
              have them call me.

ANSWER: Defendant Richard Mast is without personal knowledge as to any of the allegations

contained in Paragraph 120 and on that basis denies them.

        121. When Plaintiffs landed at Ramstein Airforce Base in Germany, Joshua and
Stephanie Mast met them. During their brief stop in Germany, Joshua and Stephanie Mast
visited Plaintiffs’ room three times, repeatedly trying to convince John and Jane Doe to allow
Baby Doe to travel separately with the Masts, insisting that it would be easier for the toddler
to enter the United States that way. John and Jane Doe repeatedly refused, as they did not
want to leave Baby Doe in anyone else’s care. Osmani provided interpretation over the
telephone.

ANSWER: Defendant Richard Mast is without personal knowledge as to any of the allegations

contained in Paragraph 121 and on that basis denies them.

       122. Before leaving Germany, John Doe informed Joshua and Stephanie Mast of a
promise John Doe had made to Jane Doe: that Baby Doe would never leave her side while
they were in the United States. There can be no doubt that Joshua and Stephanie Mast were
aware that John and Jane Doe understood they would have control over Baby Doe’s location
and custody while in the United States, and that they intended to continue to care for her as
their daughter.

ANSWER: Defendant Richard Mast is without personal knowledge as to any of the allegations

contained in Paragraph 122 and on that basis denies them.




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       123. During a conversation in Germany, Jane Doe told Stephanie Mast that she
could not live without Baby Doe and that, given all that Baby Doe had been through, Baby
Doe meant even more to Jane Doe than her own yet-to-be-born child.

ANSWER: Defendant Richard Mast is without personal knowledge as to any of the allegations

contained in Paragraph 123 and on that basis denies them.

       124. Again, the Masts and Osmani failed to fully inform John and Jane Doe about
the adoption order that the Masts obtained from a Virginia court or their previous attempts
to prevent Baby Doe from being reunited with her biological family and legal guardians in
Afghanistan. Rather, the Masts and Osmani continued to misrepresent that they only wanted
to bring Baby Doe to the United States to provide her with medical care.

ANSWER: Richard Mast denies the allegations in Paragraph 124.

        125. After several days of grueling travel, which were especially hard on Jane Doe,
who was eight months pregnant, the Does and the Osmani siblings arrived at Dulles
International Airport on August 29, 2021. Joshua Mast met the families while they waited in
line for inspection, pulled them out of the line, and took them directly to an inspecting officer.
There, they presented their identity documents.

ANSWER: Defendant Richard Mast admits John Doe and Jane Doe and the Osmani children

arrived at Dulles International Airport on August 29, 2021. Defendant Richard Mast is without

personal knowledge as to any of the remaining allegations contained in Paragraph 125 and on that

basis denies them.

       126. John Doe presented his Afghan passport to the inspecting officer, and Jane
Doe presented her Afghan ID. They then explained to the inspecting officer that Baby Doe
had not yet received an identification document, as it was customary in Afghanistan to
procure one only when the child was old enough to attend school. At the time, Baby Doe was
two years old.

ANSWER: Defendant Richard Mast is without personal knowledge as to any of the allegations

contained in Paragraph 126 and on that basis denies them.

        127. To their surprise — and despite his representations to multiple courts that
Baby Doe was not Afghan and had no nationality — Joshua Mast then handed an Afghan
passport for Baby Doe to the inspecting officer. John and Jane Doe had never before seen
this passport and did not procure it themselves. When the officer returned the passport to
John and Jane Doe, they were shocked to see that the photograph in the passport appeared
to be the same photograph that Jane Doe sent to Motley via WhatsApp on July 30, 2020, of
Baby Doe in swim trunks in a small wading pool, but it had obviously been altered.


                                               41
                       Original Photo                          Passport Photo

                       [REDACTED]                              [REDACTED]

ANSWER: Defendant Richard Mast is without personal knowledge as to any of the allegations

contained in Paragraph 127 and on that basis denies them.

      128. The altered picture had a different background, a shirt covering Baby Doe's
shoulders and chest, and eliminated some stray hairs so it was less obvious that her hair was
wet.

ANSWER: Defendant Richard Mast is without personal knowledge as to any of the allegations

contained in Paragraph 128 and on that basis denies them.

      129. Upon information and belief, the alteration of the photograph for use in the
passport was done by, or at the direction of, both Joshua and Stephanie Mast.

ANSWER: Defendant Richard Mast is without personal knowledge as to any of the allegations

contained in Paragraph 129 and on that basis denies them.

       130. Upon information and belief, the procurement of a fake Afghan passport for
Baby Doe was orchestrated by Osmani. Osmani identified, communicated with, and, at the
direction of Joshua and Stephanie Mast, paid an Afghan government official to create a
passport for a child that Joshua Mast, Stephanie Mast, and Osmani claimed to the Circuit
Court and this Court was not Afghan. The fake Afghan passport also identified Baby Doe
with a fake name: an American name and the Masts last name.

ANSWER: Defendant Richard Mast admits that he, Joshua Mast and Stephanie Mast represented

to the Circuit Court and this Court that the child in question in this case was not Afghan. Defendant

Richard Mast denies the Afghan passport is fake; Defendant Richard Mast admits the Afghan

passport identified Baby Doe with her legal American name and the Masts’ last name pursuant to

the Virginia Certificate of Foreign Birth issued as a result of the Circuit Court’s interlocutory order

of adoption and final order of adoption. Richard Mast is without personal knowledge as to any of

Osmani’s actions as alleged in Paragraph 130; and therefore, the remainder of Paragraph 130 is

denied. Richard Mast otherwise denies the allegations in Paragraph 130.




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     131. John and Jane Doe were stunned to see that the name on the passport was
“[REDACTED] Mast.”

ANSWER: Defendant Richard Mast is without personal knowledge as to any of the allegations

contained in Paragraph 131 and on that basis denies them.

       132. When John and Jane Doe asked Joshua Mast why the name on the passport
was incorrect, he told them to keep quiet and that it was just to make it easier to get medical
care for Baby Doe.

ANSWER: Defendant Richard Mast is without personal knowledge as to any of the allegations

contained in Paragraph 132 and on that basis denies them.

       133. After screening at the airport, Plaintiffs were paroled into the United States,
which permits them to lawfully remain in the United States through August 28, 2023. They
ultimately were transported to refugee housing at Fort Pickett, in Blackstone, Virginia, the
location that Joshua Mast instructed them to request.

ANSWER: Defendant Richard Mast admits that John Doe and Jane Doe were paroled into the

United States at Dulles International Airport; and that they ended up at Fort Pickett, Virginia; but

Richard Mast is without personal knowledge as to the remaining allegations contained in

Paragraph 133 and therefore denies the rest of the allegations in Paragraph 133.

        134. Five days later, on September 3, 2021, John and Jane Doe were instructed that
they would be moving to another housing unit on the base. They were escorted to a van, in
which a woman sat in the last row with an infant car seat next to her. Baby Doe was placed
in the infant car seat.

ANSWER: Richard Mast lacks knowledge or information sufficient to form a belief about the

truth of the allegations in Paragraph 134 and on that basis denies them.

       135. But the Does were not transported to another housing unit on the base.
Instead, they were taken to a building where the woman in the car picked up Baby Doe and
held her while instructing John and Jane Doe to walk to the front of the building. There, they
met another unknown woman who later informed them she was a social worker from the
DoS.

ANSWER: Richard Mast lacks knowledge or information sufficient to form a belief about the

truth of the allegations in Paragraph 135 and on that basis denies them.



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      136. Inside the building, they were met by the social worker, a Pashto interpreter,
and the woman from the car, who continued to hold Baby Doe. The social worker then
informed John and Jane Doe that they were not Baby Doe’s lawful guardians and that
Joshua Mast had adopted the child.

ANSWER: Richard Mast lacks knowledge or information sufficient to form a belief about the

truth of the allegations in Paragraph 136 and on that basis denies them.

       137. John and Jane Doe did not understand what “adoption” meant, as
guardianship and kinship care in Afghanistan are not understood in the same way as
adoption in the U.S. legal system. John and Jane Doe did understand, though, that Baby Doe
would not be permitted to return to their housing unit with them, but that Joshua Mast
would be taking her with him.

ANSWER: Richard Mast lacks knowledge or information sufficient to form a belief about the

truth of the allegations in Paragraph 137 and on that basis denies them.

       138. When Joshua Mast entered the room, Jane Doe, who was more than eight
months pregnant, fell to the ground crying and begging for him not to take Baby Doe. The
woman holding Baby Doe removed her from the room, against John and Jane Doe’s
objections, and gave her to Stephanie Mast, who was waiting outside.

ANSWER: Richard Mast is without personal knowledge and therefore denies the allegations in

Paragraph 138.

       139. John Doe pleaded with Joshua Mast to act like the “brother” that he had
promised to be to them. Joshua Mast refused, leaving John and Jane Doe in tears as he and
Stephanie Mast abducted Baby Doe. John and Jane Doe have not seen their daughter since
that day.

ANSWER: Richard Mast is without personal knowledge and therefore denies the allegations in

Paragraph 139.

       140. Bewildered and in despair, John and Jane Doe returned to their housing unit
on the base. The next day, they contacted Joshua Mast and asked why he had taken their
child. Mast responded that he had been instructed to pick up Baby Doe or she would be sent
to an orphanage. He did not say who instructed him or mention the adoption order he and
his wife had fraudulently obtained more than a year earlier.




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ANSWER: Richard Mast is without personal knowledge and therefore denies the allegations in

Paragraph140.

       141. In a conversation with Joshua Mast and Richard Mast approximately two
weeks later, Joshua Mast and Richard Mast again failed to disclose the adoption order, but
instead told the Does that they currently were not able to properly care for Baby Doe at Fort
Pickett and were not financially stable enough to provide for her. But, they told John and
Jane Doe, after the Does leave the base, got jobs, and were financially stable, they would
discuss Baby Doe’s status with the Does. At no point during this conversation did either
Joshua Mast or Richard Mast refer to Baby Doe as the child of Joshua and Stephanie Mast
or discuss the adoption order.

ANSWER: Richard Mast denies the allegations in Paragraph 141.

       142. Over the next few weeks, John and Jane Doe attempted to maintain a
connection with Joshua Mast over WhatsApp, hoping that he might allow them to see Baby
Doe. They repeatedly begged him to allow them to see Baby Doe or at least speak with her,
but he repeatedly refused. At the same time, just one month after having abducted Baby Doe,
Joshua Mast took her to visit strangers at Liberty University so that they could meet her.

ANSWER: Richard Mast is without personal knowledge and therefore denies the allegations in

Paragraph 142.

       143. John and Jane Doe were afraid of Mast, as he appeared to have lied to
numerous government agencies about Baby Doe and gotten away with it. Mast abducted
their child in broad daylight but appeared to face no consequences. They were afraid of
angering him, believing that, if he could steal their child and get away with it, he could harm
them, too.

ANSWER: Richard Mast lacks knowledge or information sufficient to form a belief about the

truth of the allegations in Paragraph 143 related to John and Jane Doe and on that basis denies

them. Richard Mast otherwise denies the allegations in Paragraph 143.

       144. Ahmad Osmani maintained frequent contact with the Does, who pleaded with
him to help them get their child back. But Osmani continued to manipulate the Does, telling
them that he wanted to help them when instead he was acting solely in furtherance of the
Masts’ scheme to abduct Baby Doe. For example, in the days after the abduction, the Does
repeatedly asked Osmani for help in retaining a lawyer or contacting other public officials
in the United States for help in getting their child back. But Osmani warned the Does that
they must not seek legal help, that lawyers will defraud them, that this issue must be resolved
directly with the Masts and that, regardless, no court would return the child to them because
the court would see that the Masts had more money than them. Upon information and belief,



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Osmani attempted to dissuade the Does from seeking legal recourse at the direction of Joshua
Mast, and reported his conversations back to Joshua Mast.

ANSWER: Richard Mast lacks knowledge or information sufficient to form a belief about the

truth of the allegations in Paragraph 144 and on that basis denies them.

       145. Even though he knew that the Masts now claimed to be Baby Doe’s adoptive
parents and that the Masts had no intention of returning the child to the Does, Osmani
suggested that if the Does kept in contact with the Masts, the Masts might be willing to return
the child after the Does left the military base.

ANSWER: Richard Mast lacks knowledge or information sufficient to form a belief about the

truth of the allegations in Paragraph 145 and on that basis denies them.

       146. John Doe continuously sought help from various agencies at Fort Pickett to
help retrieve Baby Doe. Eventually, on September 18, 2021, an interpreter on the base with
whom John and Jane Doe shared their story explained the meaning of “adoption” to them.
This was the first time John and Jane Doe understood that Joshua and Stephanie Mast had
been lying to them all the time and had no intention of returning Baby Doe to them.

ANSWER: Richard Mast denies “this was the first time John and Jane Doe understood”

“adoption” and that Baby Doe would be living with Joshua and Stephanie Mast. The testimony of

John Doe and Jane Doe in parallel Virginia court proceedings; the Afghan Civil Code that governs

guardianship of children; the testimony of Afghan law experts in parallel Virginia court

proceedings show that John and Jane Doe substantively understood what “adoption” meant and

that Joshua Mast and Osmani fully explained Joshua’s claims over the child before they ever left

Afghanistan. Richard Mast otherwise lacks knowledge or information sufficient to form a belief

about the truth of the remaining allegations in Paragraph 146 and on that basis denies them.

       147. As a direct result of the decline of Jane Doe’s mental health and the traumatic
experience of losing Baby Doe, John Doe was afraid to leave Jane Doe alone in their room.
He often asked other women in their building to keep an eye on her if he needed to be out of
the room. Despite being in the ninth month of her pregnancy, Jane Doe no longer wanted to
eat or drink, and she could not sleep. Both she and her husband were devastated and
depressed.




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ANSWER: Richard Mast lacks knowledge or information sufficient to form a belief about the

truth of the allegations in Paragraph 147 and on that basis denies them.

       148. Jane Doe delivered her baby on October 1, 2021. Unfortunately, despite the
joy of bringing a new child into this world, Jane Doe’s depression deepened as it became
increasingly clear that Joshua and Stephanie Mast would never voluntarily return Baby Doe
to them. By November 5, 2021, Jane Doe had become suicidal and was taken to the Stress
Clinic on Fort Pickett for treatment.

ANSWER: Richard Mast lacks knowledge or information sufficient to form a belief about the

truth of the allegations in Paragraph 148 and on that basis denies them.

      149. In November 2021, Jane Doe messaged Kimberley Motley to inform her that
the Masts, whom Motley had introduced to the Does, had abducted Baby Doe, and pleaded
with Motley to help her. Motley did not respond.

ANSWER: Richard Mast lacks knowledge or information sufficient to form a belief about the

truth of the allegations in Paragraph 149 and on that basis denies them.

      150. As a direct result of Joshua and Stephanie Mast’s intentional and forcible
removal of Baby Doe, John and Jane Doe have been unable to exercise their parental rights
as Baby Doe’s biological family and legal guardians.

ANSWER: Paragraph 150 asserts legal conclusions to which no response is required. Inasmuch

as a response is required, Richard Mast denies the allegations in Paragraph 150. Furthermore, Jane

Doe and John doe are not biologically related to the child. John Doe and Jane Doe are not “parents”

or legal guardians of the child under any theory of Afghan law or U.S. federal or state law.

       151. As a result of Joshua and Stephanie Mast’s intentional and outrageous
conduct, namely the abduction of Baby Doe in their presence, John and Jane Doe have
experienced extreme emotional distress.

ANSWER: Paragraph 151 asserts legal conclusions to which no response is required. Inasmuch

as a response is required, Richard Mast denies the allegations in Paragraph 151.

       152. In December 2021, John and Jane Doe initiated proceedings in the Fluvanna
Circuit Court to vacate the Adoption Order. In March 2022, by order of the Circuit Court,
John and Jane Doe filed a new petition under a new case caption.




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ANSWER:        Richard Mast admits the allegations in Paragraph 152 and notes that those

proceedings are ongoing.

        153. On August 22, 2022, the United States filed a 21-page Statement of Interest
(the “SOI”), with supporting declarations, pursuant to 28 U.S.C. § 517 (attached as Exh. 1).
Consistent with the positions taken by the United States before this Court in response to the
Masts’ TRO Petition, the SOI explicitly confirms the position of the United States that Baby
Doe was not a “stateless minor” but was instead an Afghan citizen subject to the jurisdiction
of Afghanistan; that the Government of Afghanistan never waived jurisdiction over her but,
in fact, affirmatively asserted jurisdiction over Baby Doe; and that, in the exercise of its
exclusive authority over foreign affairs, the United States transferred physical custody of
Baby Doe to the Government of Afghanistan so that she could be reunified with her family,
as identified by the Afghan government. The United States further took the position in the
SOI that a state court cannot usurp or contradict the decisions made by the United States
with regard to foreign affairs.

ANSWER: Richard Mast admits the United States DOJ filed a Statement of Interest. To the extent

that the allegations in Paragraph 153 quote that document, the document speaks for itself and no

response is required. Inasmuch as a response is required, Richard Mast denies the allegations in

Paragraph 153 and further denies the legal and factual conclusions in the Statement of Interest.

      154. Plaintiffs repeat and re-allege all the allegations set forth in the foregoing
Paragraphs as if fully set forth and restated here.

ANSWER: Richard Mast incorporates his responses to the allegations contained in the preceding

paragraphs as if fully set forth herein.

       155. As the biological family and legal guardians of Baby Doe, John and Jane Doe
have parental rights to and in their relationship with Baby Doe. The right of parents or
guardians to develop and to maintain a relationship with their child is a fundamental right
recognized by the United States Supreme Court and federal law. Further, the U.S.
government recognized that the Does’ parental and custodial rights to Baby Doe fell under
the jurisdiction of Afghanistan and are recognized under the laws of Afghanistan.

ANSWER: Paragraph 155 asserts a legal conclusion, so no response is required. To the extent a

response is required, the allegations are denied. Richard Mast further notes that the Court

dismissed this claim. See ECF No. 455 at 96–97.




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       156. This Court concurred with the DOJ that sole jurisdiction over the custody of
Baby Doe was a matter for the courts and Government of Afghanistan, which had expressly
asserted its jurisdiction over Baby Doe.

ANSWER: Paragraph 156 asserts a legal conclusion, so no response is required. Richard Mast

further notes that the Court dismissed this claim. See ECF No. 455 at 96–97. Inasmuch as a

response is required, Richard Mast denies the allegations in Paragraph 156.

      157. Upon information and belief, each of the Defendants was aware that John and
Jane Doe were the lawful guardians of Baby Doe as determined by the Government of
Afghanistan. Each of the Defendants was aware John and Jane Doe had maintained physical
custody of Baby Doe.

ANSWER: Paragraph 157 asserts a legal conclusion, so no response is required. Richard Mast

further notes that the Court dismissed this claim. See ECF No. 455 at 96–97. Inasmuch as a

response is required, Richard Mast denies the allegations in Paragraph 157.

        158. Notwithstanding this knowledge, each of the Defendants intentionally and
willfully used improper, unethical and fraudulent means to preclude John and Jane Doe
from continuing their parental relationship with Baby Doe and interfered with their parental
rights, permanently depriving them of those rights.

ANSWER: Paragraph 158 asserts a legal conclusion, so no response is required. Richard Mast

further notes that the Court dismissed this claim. See ECF No. 455 at 96–97. Inasmuch as a

response is required, Richard Mast denies the allegations in Paragraph 158.

        159. Defendants’ actions as set forth above have resulted in the violation of these
rights, causing John and Jane Doe harm for which they seek compensation.

ANSWER: Paragraph 159 asserts a legal conclusion, so no response is required. Richard Mast

further notes that the Court dismissed this claim. See ECF No. 455 at 96–97. Inasmuch as a

response is required, Richard Mast denies the allegations in Paragraph 159.

       160. Defendants are jointly and severally liable for the harm to Plaintiffs as
articulated above.




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ANSWER: Paragraph 160 asserts a legal conclusion, so no response is required. Richard Mast

further notes that the Court dismissed this claim. See ECF No. 455 at 96–97. Inasmuch as a

response is required, Richard Mast denies the allegations in Paragraph 160.

      161. Plaintiffs repeat and re-allege all the allegations set forth in the foregoing
Paragraphs as if fully set forth and restated here.

ANSWER: Richard Mast incorporates his responses to the allegations contained in the preceding

paragraphs as if fully set forth herein.

      162. Joshua and Stephanie Mast and Kimberley Motley intentionally made
misleading and false statements and/or material omissions to John and Jane Doe to
perpetrate the abduction of Baby Doe.

ANSWER: Paragraph 162 asserts a legal conclusion, so no response is required. Inasmuch as a

response is required, Richard Mast denies the allegations in Paragraph 162.

        163. Joshua and Stephanie Mast engaged the services of Motley, who acted as their
agent, to, inter alia, contact John and Jane Doe and lure them into facilitating Baby Doe’s
travel to the United States, purportedly for the sole purpose of obtaining medical treatment
for her, through false and misleading statements and material omissions.

ANSWER: Paragraph 163 asserts a legal conclusion, so no response is required. Inasmuch as a

response is required, Richard Mast denies the allegations in Paragraph 163.

      164. Upon information and belief, Joshua and Stephanie Mast, through their agent
Motley, procured the identities and location of John and Jane Doe, as well as photographs of
Baby Doe procured from John and Jane Doe via WhatsApp.

ANSWER: Paragraph 164 asserts a legal conclusion, so no response is required. Inasmuch as a

response is required, Richard Mast denies the allegations in Paragraph 164.

       165. John and Jane Doe relied on Motley’s misrepresentations, which she made at
the direction of Joshua and Stephanie Mast, when they communicated with her, sent her
photographs of Baby Doe, and agreed to travel to the United States for what the Does thought
was the sole purpose of obtaining medical treatment for Baby Doe.

ANSWER: Paragraph 165 asserts a legal conclusion, so no response is required. Inasmuch as a

response is required, Richard Mast denies the allegations in Paragraph 165. Furthermore, the Does



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were fully aware that the Masts intended the child to live with them in the United States prior to

bringing the child to U.S. Special Forces for evacuation against the Taliban’s orders.

        166. One of the photographs that Joshua and Stephanie Mast obtained from John
and Jane Doe through Motley, under false pretenses, was digitally altered to create the
fraudulently obtained identification documents used to bring Baby Doe into the United
States.

ANSWER: Paragraph 166 asserts a legal conclusion, so no response is required. Inasmuch as a

response is required, Richard Mast denies the allegations in Paragraph 166. Furthermore, the child

was paroled into the United States using her military identification card with which Plaintiffs John

and Jane Doe had registered the child for evacuation.

      167. It was as a direct result of John and Jane Doe’s reliance on Joshua and
Stephanie Mast’s prevarications, made through Motley, that Joshua and Stephanie Mast
were able to lure Plaintiffs to the United States and unlawfully obtain physical custody of
Baby Doe.

ANSWER: Paragraph 167 asserts a legal conclusion, so no response is required. Inasmuch as a

response is required, Richard Mast denies the allegations in Paragraph 167.

       168. On July 10, 2021, as well as in subsequent conversations, Joshua and Stephanie
Mast, with the assistance of Motley, intentionally misrepresented to John and Jane Doe that
their sole intention was to procure medical assistance for Baby Doe, and that it was in the
Does’ best interest to send Baby Doe to the United States. Joshua and Stephanie Mast also
intentionally withheld from John and Jane Doe any information or notice of the court
proceedings they had initiated for Baby Doe in Virginia.

ANSWER: Defendant Richard Mast is without personal knowledge as to any of the allegations

contained in Paragraph 168 and on that basis denies them. Insofar as Paragraph 168 asserts a legal

conclusion, no response is required. Inasmuch as a response is required, Richard Mast denies the

allegations in Paragraph 168.

       169. On August 26, 2021, and in furtherance of the Masts’ unlawful scheme to take
Baby Doe from John and Jane Doe, Joshua Mast represented to John and Jane Doe that he
was their attorney.




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ANSWER: Defendant Richard Mast is without personal knowledge as to any of the allegations

contained in Paragraph 169 and on that basis denies them. Insofar as Paragraph 169 asserts a legal

conclusion, no response is required. Inasmuch as a response is required, Richard Mast denies the

allegations in Paragraph 169.

         170. Shortly thereafter, while John and Jane Doe were in Germany awaiting their
final flights to the United States, Joshua and Stephanie Mast came to their room three times
and again made misrepresentations to them, reiterating that they wanted to take Baby Doe
to the United States for the sole purpose of obtaining medical treatment for her. Further,
Joshua and Stephanie Mast falsely stated that Baby Doe should travel with them, separately
from the Does, because they were simply trying to make it easier for Baby Doe to enter the
United States. Instead, their true intention was to unlawfully and permanently take physical
custody of Baby Doe.

ANSWER: Defendant Richard Mast is without personal knowledge as to any of the allegations

contained in Paragraph 170 and on that basis denies them. Insofar as Paragraph 170 asserts a legal

conclusion, no response is required. Inasmuch as a response is required, Richard Mast denies the

allegations in Paragraph 170.

        171. On September 3, 2021, Joshua Mast arranged for John and Jane Doe and Baby
Doe to be moved to another building at Fort Pickett and revealed to John and Jane Doe for
the first time that he had adopted Baby Doe. He then utilized this opportunity to remove
Baby Doe from their custody.

ANSWER: Defendant Richard Mast is without personal knowledge as to any of the allegations

contained in Paragraph 171 and on that basis denies them. Insofar as Paragraph 171 asserts a legal

conclusion, no response is required. Inasmuch as a response is required, Richard Mast lacks

personal knowledge and therefore denies the allegations in Paragraph 171.

      172. John and Jane Does’ reasonable reliance on this pattern of deception allowed
Joshua and Stephanie Mast, through their agent Motley, to obtain the photographs necessary
to procure fraudulently obtained identification documents, travel permissions, and
erroneously granted custodial and adoption decisions necessary to effect this abduction.

ANSWER: Paragraph 172 asserts a legal conclusion, so no response is required. Inasmuch as a

response is required, Richard Mast denies the allegations in Paragraph 172.



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       173. As a result of repeated material misrepresentations by the Masts and Motley,
John and Jane Doe and Baby Doe traveled to the United States and subjected themselves to
the controlled environment of a military base that Joshua Mast manipulated to his advantage
to abduct Baby Doe in broad daylight.

ANSWER: Paragraph 173 asserts a legal conclusion, so no response is required. Inasmuch as a

response is required, Richard Mast denies the allegations in Paragraph 173.

        174. In reliance on the representation that they were only traveling to the United
States for two to three months to obtain medical care for Baby Doe, after which they would
return with Baby Doe to Afghanistan, John and Jane Doe left their homeland, to which they
cannot yet return, and may never be able to return, because of the circumstances
surrounding their departure. Specifically, John and Jane Doe fear that the current
Afghanistan government will be quick to assume they are U.S. military collaborators —
consequently, they fear they or their family will be shunned or targeted by the government,
or by others in their community.

ANSWER: Defendant Richard Mast is without personal knowledge as to any of the allegations

contained in Paragraph 174 and on that basis denies them. Insofar Paragraph 174 asserts a legal

conclusion, no response is required. Inasmuch as a response is required, Richard Mast denies the

allegations in Paragraph 174.

        175. Had John and Jane Doe been aware that the purpose of the communications
initiated by Joshua and Stephanie Mast and Motley was to facilitate the Masts’ abduction of
Baby Doe, they never would have communicated with Motley, shared photographs of Baby
Doe, or traveled to the United States at the behest of Joshua and Stephanie Mast.

ANSWER: Richard Mast denies the “purpose” set forth in Paragraph 175 and to the extent that

Paragraph 175 asserts a legal conclusion, no response is required. Inasmuch as a response is

required, Richard Mast denies the allegations in Paragraph 175.

       176. Had John and Jane Doe been aware that Joshua and Stephanie Mast had
fraudulently obtained orders of custody and adoption for Baby Doe, they never would have
communicated with Motley, shared photographs of Baby Doe, or traveled to the United
States at the behest of Joshua and Stephanie Mast.

ANSWER: Richard Mast denies the allegations of “fraudulently obtained orders of custody and

adoption.” To the extent that Paragraph 176 asserts a legal conclusion, no response is required.

Inasmuch as a response is required, Richard Mast denies the allegations in Paragraph 176.


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       177. Had John and Jane Doe been aware that Joshua and Stephanie Mast had filed
an action in a U.S. federal court to prevent Baby Doe’s reunification with her biological
family and legal guardians, they never would have communicated with Motley, shared
photographs of Baby Doe, or traveled to the United States at the behest of Joshua and
Stephanie Mast.

ANSWER: Richard Mast denies the factual allegations of Paragraph 177 and insofar as it asserts

a legal conclusion, no response is required. Inasmuch as a response is required, Richard Mast

denies the allegations in Paragraph 177.

       178. John and Jane Doe have suffered and will continue to suffer what they regard
as the worst tragedy they have experienced, having their child unjustly ripped from their
lives.

ANSWER: Richard Mast denies that Baby Doe was or is “their child.” Further, Paragraph 178

asserts a legal conclusion, so no response is required. Inasmuch as a response is required, Richard

Mast denies the allegations in Paragraph 178.

        179. Accordingly, Joshua and Stephanie Mast and Motley are jointly and severally
liable for the harm suffered by Plaintiffs as articulated above.

ANSWER: Paragraph 179 asserts a legal conclusion, so no response is required. Inasmuch as a

response is required, Richard Mast denies the allegations in Paragraph 179.

      180. Plaintiffs repeat and re-allege all the allegations set forth in the foregoing
Paragraphs as if fully set forth and restated here.

ANSWER:       Richard Mast incorporates their responses to the allegations contained in the

preceding paragraphs as if fully set forth herein.

       181. Each of the Defendants acted in concert, agreed, associated, mutually
undertook and combined together to intentionally and purposely commit the wrongful and
tortious acts against all of the Plaintiffs as set forth above. The concerted and purposeful
actions of each Defendant have denied John and Jane Doe their parental rights and
wrongfully interfered with their ability to establish and assert those rights; and denied Baby
Doe her right to know and be raised in the natural home of her biological family and legal
guardians.

ANSWER: Paragraph 181 asserts a legal conclusion, so no response is required. Inasmuch as a

response is required, Richard Mast denies the allegations in Paragraph 181. John and Jane Doe are


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not legal guardians of the child under any theory of Afghan law or U.S. federal or state law. Jane

Doe and John Doe are not adoptive parents under any theory of Afghan law or U.S. federal or state

law. John and Jane Doe are not biologically related to the child. Furthermore, John Doe and Jane

Doe are not biological parents of the child. The Commonwealth of Virginia does not recognize

parental rights outside of biological or adoptive parents, and this allegation is frivolous.

       182. Each of the conspirators is fully responsible for the acts of each other. The
total effect of the conspiracy not only is tortious, but, indeed, also is a criminal act
tantamount to child abduction under §§ 18.2-47(a) and 18.2-49 of the Code of Virginia. The
actions of the conspirators violate federal statutes, laws and regulations of the
Commonwealth of Virginia, and the laws of Afghanistan.

ANSWER: Paragraph 182 asserts a legal conclusion, so no response is required. Inasmuch as a

response is required, Richard Mast denies the allegations in Paragraph 182.

      183. Each Defendant acted in furtherance of this conspiracy to defraud John and
Jane Doe and to abduct and unlawfully restrain Baby Doe.

ANSWER: Paragraph 183 asserts a legal conclusion, so no response is required. Inasmuch as a

response is required, Richard Mast denies the allegations in Paragraph 183.

       184. Joshua and Stephanie Mast, inter alia, fraudulently induced John and Jane
Doe, through their agent Motley, to share photographs of Baby Doe, which they used to
unlawfully obtain an Afghan passport for Baby Doe without the knowledge or consent of her
biological family and legal guardians. Joshua and Stephanie Mast fraudulently
misrepresented their intentions, both directly and through their agent Motley and through
Osmani, to John and Jane Doe when persuading them to bring Baby Doe to the United States
for the sole purpose of obtaining medical treatment. Joshua and Stephanie Mast abducted
Baby Doe and have continued to deprive John and Jane Doe of any contact with her. Joshua
and Stephanie Mast procured fraudulently obtained documents to affect her abduction.

ANSWER: Paragraph 184 asserts a legal conclusion, so no response is required. Inasmuch as a

response is required, Richard Mast denies the allegations in Paragraph 184.

        185. Richard Mast, inter alia, at the direction of and on behalf of Joshua and
Stephanie Mast, fraudulently misrepresented material facts, and made numerous omissions
of fact, to multiple courts to unlawfully obtain custody and adoption orders that would
facilitate the abduction by Joshua and Stephanie Mast of Baby Doe, as well material
misrepresentations to this Court and USCIS in furtherance of the same. He did so in violation
of his ethical rules of professional responsibility as an attorney licensed in the


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Commonwealth of Virginia. Richard Mast and Joshua and Stephanie Mast knew these
statements to be false and the omissions to be material.

ANSWER: Richard Mast denies the factual allegations of Paragraph 185. To the extent that

Paragraph 185 asserts a legal conclusion, no response is required. Inasmuch as a response is

required, Richard Mast denies the allegations in Paragraph 185.

      186. Joshua and Stephanie Mast, through their agent Motley, and Osmani
knowingly made false representations to John and Jane Doe when persuading them to have
Baby Doe travel to the United States to obtain medical treatment.

ANSWER: Paragraph 186 asserts a legal conclusion, so no response is required. Inasmuch as a

response is required, Richard Mast denies the allegations in Paragraph 186.

       187. As set forth above, the Defendants’ overt acts and omissions in furtherance of
their conspiracy have harmed and will continue to harm each Plaintiff.

ANSWER: Paragraph 187 asserts a legal conclusion, so no response is required. Inasmuch as a

response is required, Richard Mast denies the allegations in Paragraph 187.

       188. Accordingly, the Defendants are jointly and severally liable for the harm to
Plaintiffs as articulated above.

ANSWER: Paragraph 188 asserts a legal conclusion, so no response is required. Inasmuch as a

response is required, Richard Mast denies the allegations in Paragraph 188.

      189. Plaintiffs repeat and re-allege all the allegations set forth in the foregoing
Paragraphs as if fully set forth and restated here.

ANSWER:       Richard Mast incorporates their responses to the allegations contained in the

preceding paragraphs as if fully set forth herein.

        190. Since 2019, the conduct of Joshua and Stephanie Mast has shown a consistent
pattern of reckless disregard for the very real possibility of causing extreme emotional
distress to John and Jane Doe. As set forth above, the Masts conspired to separate Baby Doe
unlawfully from the only family she had ever known for the vast majority of her short life.
It is implausible that someone would be unaware of the extreme trauma that would be
inflicted on parents when their child is ripped from their arms by someone who had for
months been claiming that all he wanted was to help them.




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ANSWER: Paragraph 190 asserts a legal conclusion, so no response is required. Inasmuch as a

response is required, Richard Mast denies the allegations in Paragraph 190.

       191. As alleged above, the conduct of Joshua and Stephanie Mast was both deceitful
and criminal, violating the laws of Afghanistan, Virginia, and the United States. They were
aware that Baby Doe had been reunited with her biological family and legal guardians, and
chose to conceal this from Virginia state and federal courts. They continued to mispresent to
the Virginia courts that Baby Doe was a stateless, unaccompanied orphan. Neither the
government of Afghanistan nor the United States agreed with this determination.
Nonetheless, to carry out their scheme, Joshua and Stephanie Mast consistently violated laws
meant to safeguard not only the wellbeing of vulnerable children, but the foreign policy
interests of the United States.

ANSWER: Richard Mast denies the factual allegations of Paragraph 191. To the extent that

Paragraph 185 asserts a legal conclusion, no response is required. Inasmuch as a response is

required, Richard Mast denies the allegations in Paragraph 191.

192.   Richard Mast knowingly furthered this scheme through his fraudulent in-court

misrepresentations, by procuring the custody and adoption orders for Joshua and Stephanie

Mast, and by submitting a deceptive immigration application for John Doe.

ANSWER: Richard Mast denies the factual allegations of Paragraph 192. To the extent that

Paragraph 185 asserts a legal conclusion, no response is required. Inasmuch as a response is

required, Richard Mast denies the allegations in Paragraph 192.

        193. Joshua and Stephanie Mast, through their agent Motley, and Osmani
knowingly facilitated the plan to abduct Baby Doe by misrepresenting their intentions to
John and Jane Doe when persuading them to bring Baby Doe to the United States supposedly
for the sole purpose of obtaining medical treatment.

ANSWER: Paragraph 193 asserts a legal conclusion, so no response is required. Inasmuch as a

response is required, Richard Mast denies the allegations in Paragraph 193.

       194. These actions would be considered extreme, outrageous, and intolerable by
any reasonable person.

ANSWER: Paragraph 194 asserts a legal conclusion, so no response is required. Inasmuch as a

response is required, Richard Mast denies the allegations in Paragraph 194.


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       195. As a direct result of the extreme, outrageous, and intolerable conduct of all
Defendants, Plaintiffs have suffered extreme emotional distress. The lives of all three
Plaintiffs have been forever altered in fundamental ways that no individual should be
expected to endure.

ANSWER: Paragraph 195 asserts a legal conclusion, so no response is required. Inasmuch as a

response is required, Richard Mast denies the allegations in Paragraph 195.

       196. Accordingly, Defendants are jointly and severally liable to Plaintiffs for all of
their harm suffered at the hands of the Defendants, as set forth above.

ANSWER: Paragraph 196 asserts a legal conclusion, so no response is required. Inasmuch as a

response is required, Richard Mast denies the allegations in Paragraph 196.

      197. Plaintiffs repeat and re-allege all the allegations set forth in the foregoing
Paragraphs as if fully set forth and restated here.

ANSWER: Richard Mast incorporates his responses to the allegations contained in the preceding

paragraphs as if fully set forth herein.

      198. On September 3, 2021, Joshua Mast physically removed Baby Doe from the
custody of her lawful guardians without their permission or consent, restricting her
movement and confining her to the care of himself and Stephanie Mast.

ANSWER: Paragraph 198 asserts a legal conclusion, so no response is required. Richard Mast

further notes that the Court dismissed this claim. See ECF No. 455 at 96–97. Inasmuch as a

response is required, Richard Mast denies the allegations in Paragraph 198.

      199. Since September 3, 2021, Joshua and Stephanie Mast have continued to keep
Baby Doe captive, without the permission or consent of her lawful guardians.

ANSWER: Paragraph 199 asserts a legal conclusion, so no response is required. Richard Mast

further notes that the Court dismissed this claim. See ECF No. 455 at 96–97. Inasmuch as a

response is required, Richard Mast denies the allegations in Paragraph 199.

       200. On September 3, 2021, Baby Doe began crying when the woman assisting
Joshua Mast would not return her to Jane Doe, indicating Baby Doe’s awareness of this
restraint. John and Jane Doe, in their capacity as Baby Doe’s legal guardians, were and are
aware of and vehemently opposed to this unlawful restraint.



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ANSWER: Paragraph 200 asserts a legal conclusion, so no response is required. Richard Mast

further notes that the Court dismissed this claim. See ECF No. 455 at 96–97. Inasmuch as a

response is required, Richard Mast denies the allegations in Paragraph 200.

       201. As a result of this unlawful restraint, Baby Doe, John Doe and Jane Doe have
been injured by this family separation since September 3, 2021.

ANSWER: Paragraph 201 asserts a legal conclusion, so no response is required. Richard Mast

further notes that the Court dismissed this claim. See ECF No. 455 at 96–97. Inasmuch as a

response is required, Richard Mast denies the allegations in Paragraph 201.

       202. Accordingly, Joshua and Stephanie Mast are jointly and severally liable to
Plaintiffs for all of the harm they have endured, as set forth above.

ANSWER: Paragraph 202 asserts a legal conclusion, so no response is required. Richard Mast

further notes that the Court dismissed this claim. See ECF No. 455 at 96–97. Inasmuch as a

response is required, Richard Mast denies the allegations in Paragraph 202.

                                    RELIEF REQUESTED

       Richard Mast denies that John and Jane Doe are entitled to any relief and, on that basis,

denies any and all allegations that follow the heading “Prayer for Relief” in the Amended

Complaint. Richard Mast respectfully requests that Plaintiffs’ Relief Requested/Prayer for Relief

be denied in its entirety, that Defendant Richard Mast be awarded costs and fees incurred in

defending Plaintiffs’ Complaint and that Defendant be granted such other relief as the Court deems

appropriate.

                       (2) AFFIRMATIVE AND OTHER DEFENSES

       Without assuming any burden of proof that he would not otherwise bear, Defendant

Richard Mast asserts the following affirmative and other defenses to the allegations and claims in

the Complaint. Richard Mast denies wrongdoing or liability of any kind. No defense constitutes

an admission that Richard Mast is liable to John and Jane Doe, that John and Jane Doe has been


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or will be injured or damaged, or that John and Jane Doe are entitled to relief from Richard Mast.

Richard Mast reserves the right to add or amend his affirmative and other defenses as facts develop

through discovery.

                              First Affirmative Defense (Forgery)
 1. Plaintiffs’ claims against Defendants, including Richard Mast, are barred, in whole or in

     part, because they are predicated upon forged documents.

                             Second Affirmative Defense (Fraud)
 2. Plaintiffs’ claims against Defendants, including Richard Mast, are barred, in whole or in

     part, because their claims are predicated on fraud committed by Plaintiffs.

                       Third Affirmative Defense (Fraud on the Court)
 3. Plaintiffs’ claims against Defendants, including Richard Mast, are barred, in whole or in

     part, because they have engaged in fraud on the Court.

                          Fourth Affirmative Defense (Preemption)
 4. Plaintiffs’ claims against Defendants, including Richard Mast, are barred, in whole or in

     part, because they are preempted by federal or state law.

                     Fifth Affirmative Defense (Failure to State a Claim)
 5. Plaintiffs’ claims against Defendants, including Richard Mast, are barred, in whole or in

     part, for failure to state a claim upon which relief may be granted.

                       Sixth Affirmative Defense (No Violation of Law)
 6. Plaintiffs’ claims against Defendants, including Richard Mast, are barred, in whole or in

     part, because Defendants have not engaged in any conduct that is a violation of any law or

     regulation.

                      Seventh Affirmative Defense (Lack of Causation)
 7. Plaintiffs’ claims against Defendants, including Richard Mast, are barred, in whole or in

     part, to the extent Plaintiff’s alleged injuries and/or damages, if any, were not caused in fact


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   or proximately caused by any acts and/or omissions of Defendants.

                        Eighth Affirmative Defense (Lack of Injury)
8. Plaintiffs’ claims against Defendants, including Richard Mast, are barred, in whole or in

   part, to the extent they have not suffered any actual injury or damage.

                          Ninth Affirmative Defense (Good Faith)
9. Plaintiffs’ claims against Defendants, including Richard Mast, are barred, in whole or in

   part, because Defendants at all times acted in good faith and in compliance with applicable

   laws.

                 Tenth Affirmative Defense (Unclean Hands/In Pari Delicto)
10. Plaintiffs’ claims against Defendants, including Richard Mast, are barred, in whole or in

   part, by Plaintiffs’ unclean hands and the doctrine of in pari delicto.

                  Eleventh Affirmative Defense (Failure to Mitigate Damages)
11. Plaintiffs’ claims against Defendants, including Richard Mast, are barred, in whole or in

   part, on the ground that Plaintiffs have failed to mitigate any claimed damages, to the extent

   they exist.

               Twelfth Affirmative Defense (Punitive Damages Inapplicable)
12. Plaintiffs’ claims against Defendants, including Richard Mast, for punitive damages are

   prohibited under the Fifth, Eighth, and Fourteenth Amendment to the U.S. Constitution.

                              Thirteenth Affirmative Defense
           (Estoppel/Promissory Estoppel/Collateral Estoppel/Res Judicata)
13. Plaintiffs’ claims against Defendants, including Richard Mast, are barred, in whole or in

   part, by the doctrines of estoppel, promissory estoppel, collateral estoppel, and/or res

   judicata.

                              Fourteenth Affirmative Defense
   (Waiver/Laches/Acquiescence/Accord and Satisfaction/Arbitration and Award )



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14. Plaintiffs’ claims against Defendants, including Richard Mast, are barred, in whole or in

   part, by the doctrines of waiver, laches, acquiescence, accord and satisfaction, and arbitration

   and award.

                     Fifteenth Affirmative Defense (U.S. Constitution)
15. Plaintiffs’ claims against Defendants, including Richard Mast, are barred, in whole or in

   part, by the U.S. Constitution, including but not limited to the First Amendment.

                  Sixteenth Affirmative Defense (Reservation of Rights)
16. Defendant Richard Mast expressly and specifically reserves the right to amend this answer

   to add, delete, and/or modify defenses based upon legal theories, facts and circumstances

   that may or will be divulged through discovery and/or further legal analysis of Plaintiffs’

   position in the litigation.

                     Seventeenth Affirmative Defense (Indispensable Parties)

17. Plaintiffs’ claims are barred under Rule 19 because they have failed to join one or more

   indispensable parties.

         Eighteenth Affirmative Defense (No Capacity to Sue On Behalf of Baby Doe)

18. Plaintiffs’ claims purportedly brought on behalf of Baby Doe fail because they are not

   brought by any individual with legal capacity to bring suit on her behalf.

             Nineteenth Affirmative Defense (Lack of Subject Matter Jurisdiction)

19. This Court lacks subject matter jurisdiction and/or failure to join indispensable party that

   would destroy subject matter jurisdiction.

       Twentieth Affirmative Defense (Other Defendants’ Defenses Incorporated)

20. All other Defendants’ applicable defenses are hereby incorporated by reference.

                                       *        *      *


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Additional facts that may support additional defenses may come to light through discovery or

further investigation. Richard Mast reserves the right to assert new affirmative or other defenses

in the future.

                              (3) COUNTERCLAIM COMPLAINT

                                         INTRODUCTION

        1.       Joshua and Stephanie Mast are the adoptive parents of the child referred to in this

litigation as Baby Doe (“Baby Doe” or “the child”), an orphan of war and victim of terrorism, who

was rescued under tragic circumstances from a battlefield in Afghanistan. The Masts have gone to

great lengths at great personal expense and sacrifice to ensure that Baby Doe has a safe and loving

home and receives the medical care she requires. John and Jane Doe have engaged in a prolonged

campaign to smear the Masts reputation and to attack their family including through the press. As

part of that campaign, they have knowingly made false statements about the Masts and about their

own relationship with Baby Doe. Those knowingly false statements have tarnished the Masts’

reputation, have inflicted substantial emotional distress, and have otherwise tortiously interfered

with the lives of the Masts and their family.

        2.       The Masts continue to maintain that this Court lacks subject matter jurisdiction over

Plaintiffs’ claims and that this matter must therefore be dismissed in its entirety. But in light of the

Court’s ruling recent ruling on jurisdiction, and so long as this Court continues to exercise subject-

matter jurisdiction over this case, the Masts assert counterclaims for defamation, intentional

infliction of emotional distress, and civil conspiracy.

                                              PARTIES

        3.       Richard Mast is an attorney residing in Virginia.




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       4.      John Doe is a national of Afghanistan, residing in Texas, who has asserted claims

against the Masts related to the child at issue here and who is prosecuting a civil proceeding in

Virginia Circuit Court to challenge the validity of the Masts’ adoption of the child.

       5.      Jane Doe is a national of Afghanistan, residing in Texas, who has asserted claims

against the Masts related to the child and who is prosecuting a civil proceeding in Virginia Circuit

Court to challenge the validity of the Masts’ adoption of the child.

                                 JURISDICTION AND VENUE

       6.      As Richard Mast and the other Defendants have previously argued, this Court does

not have subject-matter jurisdiction over this dispute. This is especially true insofar as Defendant

Osmani, who Plaintiffs just recently dismissed from the Complaint in an attempt to preserve

diversity jurisdiction, is an indispensable party under Fed. R. Civ. P. 19(b), as will be set forth in

a separate motion.

       7.      But in light of the Court’s ruling on jurisdiction, and so long as this Court continues

to exercise subject-matter jurisdiction over this case, Richard Mast asserts that this Court would

also have jurisdiction over their counterclaims under 28 U.S.C. §§ 1332 and 1367.

       8.      This Court has personal jurisdiction over John and Jane Doe because they initiated

this action and submitted to the personal jurisdiction of this Court.

       9.      Assuming that venue for Plaintiffs’ claims is proper in this district under 28 U.S.C.

§ 1391(b), then venue is likewise proper for the Masts’ counterclaims.

                                       RELEVANT FACTS

       A.      Baby Doe’s Recovery and Evacuation from Afghanistan

       10.     The child was recovered off the battlefield at approximately 6–8 weeks old during

a U.S. Special Forces mission to capture/kill three Al Qaeda (AQ) terrorist leaders associated with




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the East Turkistan Islamic Movement (a.k.a. “Turkistan Islamic Party” or “TIP,” a terrorist group

composed of Uyghur or “Turkman” fighters) who were operating a foreign fighter training camp

in Afghanistan.

       11.     During the engagement, Baby Doe’s biological parents fought to the death in close

combat against U.S. Special Forces, and she was wounded in a suicide blast detonation.

       12.     An eye-witness Army Ranger on the ground the night of September 5-6, 2019

testified in Virginia Circuit Court that the child’s presumed father fought to the death, while

holding the infant child in front of him like a human shield, aiming an AK-47 at the Rangers.

       13.     The fighter’s gun jammed; he disappeared back into the compound with the child;

and reappeared without the child and with a grenade to throw at the Rangers. Four Rangers were

wounded. One was not. The Ranger killed the fighter with grenades of his own at a distance of a

few feet.

       14.     The same eyewitness ranger testified that he then saw the child’s presumed mother

run from the South Compound of Interest, with a person-borne improvised explosives device (IED)

and while carrying the baby. The Ranger saw the woman blow herself and the baby up 15 feet in

front of him, outside the compound, with the mother and baby falling to the ground. The mother

died. The baby suffered serious injuries. The Ranger tenderly picked the baby up and gave her to

U.S. female soldiers who were on the mission to search women and children. One of them held

her during the fight.

       15.     The explosion had severely injured Baby Doe, fracturing her femur, deforming her

skull, and leaving several burns, scars, and other signs of trauma on her face and body

       16.     An eyewitness Ranger testified that at the North Compound of Interest

approximately 100 meters from the location where Baby Doe was blown up by her mother, stored




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explosives detonated, causing a wall collapse that buried multiple Rangers at the North Compound.

He sprinted to the rescue with his dog.

       17.     The Ranger returned to the South Compound to find that an Afghan Government

soldier wanted to shoot the injured Baby Doe in the head on the spot, and throw her in the river,

because the Afghan government soldier didn’t want a foreign terrorist’s child to grow up in his

country. The Rangers prevented this and brought the baby to the hospital.

       18.     The fight was a major engagement. The September 5-6, 2019 raid was specifically

referenced in a Taliban propaganda video released on September 16, 2019 on Twitter, showing the

effects of foreign fighters who placed their wives and children in harms’ way so they could fight

jihad. The video claims “war crimes,” showing dead children with Asian features consistent with

“Turkmen”/Uygher/TIP foreign fighter parents, but also includes dead military-aged males, and

an Al Qaeda black flag later in the video. The video is titled “Hidden Crimes (15)” and dated “2019

September 6.” It lists Char Chino district, in Uruzgan Province.

       19.     Intelligence recovered by U.S. forces from the September 5-6 2019 raid included a

picture of Baby Doe’s likely father recovered from a terrorist’s captured device. The picture was

included in a declassified mission summary obtained by Associated Press and hosted at

https://www.documentcloud.org/documents/23815515-declassified-mission-summary-1.

       20.     This Asian (“Turkman” “Uygher” ”Turkistani”) terrorist was a Turkistan Islamic

Party (TIP) fighter foreign to Afghanistan, not a “peaceful farmer.” A detainee captured by US

forces identified this man with the machine gun as living in the compound outside of which Baby

Doe’s mother detonated herself and Baby Doe, and beside which Baby Doe was recovered. This

man’s eyes, nose, mouth and ears are extremely similar to those of Baby Doe.




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       21.     The Masts compared Baby Doe’s features to this fighter's photos early on. The

similarities noted include: 1) her epicanthic fold and eye shape; 2) eyebrows; 3) upper lips; 4)

noses with the same distinctive broad tip; 5) nostrils; and 6) ears. The similarities have grown as

the child has grown.

       22.     Another photo recovered from a terrorist’s electronic device the night of the

September 5-6 raid depicted another obviously Asian Turkistani terrorist fighter in front of a black

Al Qaeda flag. This man was reportedly the nephew of the older fighter. The picture was also listed

in a document obtained and hosted by the AP.

       23.     This picture (Image X) is not just any terrorist, but is a picture of the current second-

in-command of the Turkistan Islamic Party, its “deputy emir,” Abdusalam Al-Turkistani (a.k.a.

various spelling variations), in front of a black Al Qaeda flag background.

       24.     Abdusalam Al-Turkistani is very much alive today, giving a recent interview

published in February 2023, around the time the AP went on its Taliban-guided tour of the village

from which Baby Doe was recovered, pictures of which AP published in an August 4, 2023 article.

The AP publicly identified the province of the village as Uruzgan.

       25.     The September 5-6 raid, like the other night raids, was part of a mature, multi-year

iterative targeting process during which intelligence recovered from the bodies or personal effects

of the terrorists within a targeted network (who were destroyed on a night raid) was used to target

the next priority on the Joint Prioritized Effects List (JPEL) on the next prioritized raid.

       26.     A few weeks after the night raid by the Rangers that rescued Baby Doe, on

September 23, 2019, Asim Omar, Emir of AQIS (Al Qaeda Indian Subcontinent) was killed. All

of this information was available to the State Department at the time, had it only looked at the

evidence.




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       27.     At the time Baby Doe was rescued by U.S. forces and taken to receive treatment

for her injuries in the Military Hospital system, Major Joshua Mast (then Captain) was deployed

in Afghanistan where he served as a Marine Corps Judge Advocate.

       28.     Joshua Mast grew concerned that Baby Doe, a foreign female infant in Afghanistan

being treated in a Military Hospital under consistent rocket attack, would not have access to the

medical care required to treat her injuries.

       29.     It was apparent to Joshua Mast and other military lawyers working the case (who

helped compile what became the “Declassified Mission Summary”) that Baby Doe had no living

relatives, due to the nature of the terrorist group from which she was recovered (the Eastern

Turkistan Islamic Movement/Turkistan Islamic Party, a group that originated in China and was

active throughout several countries in Central and East Asia), the sophistication of the unit

involved, the strength of the intelligence assessing her likely area of origin, and the devastating

scale of the destruction of the AQ training camp.

       30.     Joshua Mast – with the full knowledge of his command as US DoD documents

show – fought for the child’s rights to safety, medical treatment, and to not be turned over by the

US to non-relatives in an objectively dangerous manner. Joshua Mast – along with DoD –

demanded at a minimum a DNA test for any claimants and vetting for terrorist ties. The DoD was

well aware the risk that unrelated Taliban proxies would step forth as “uncles” to try to claim the

child. The command was fully informed Joshua Mast was seeking custody and birth documents to

facilitate her safety, treatment and continuing care.

       31.     Joshua Mast – while deployed and still in Afghanistan – reached out to a national

nonprofit legal organization noted for its First Amendment-related defense of religious freedom,




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the sanctity of human life, and the family, because of that organization’s expertise and reputation

for protecting innocent human life, including preborn and newborn infants.

       32.     His brother, Richard Mast, was an attorney at this nonprofit. Joshua explained the

situation, and Richard Mast agreed to try to help him ensure a safe outcome for the infant child

through advocacy and representation.

       33.     Still in Afghanistan, Joshua Mast (through representation by Richard Mast in

association with another family law attorney) initiated custody proceedings in Joshua’s county of

residence in the Juvenile and Domestic Relations Court of Fluvanna, Virginia (the “J&DR Court”)

largely to establish a legal identity that would allow her to receive appropriate medical care in the

United States via a humanitarian parole visa.

       34.      After receiving the facts as understood by the Masts at the time (and borne out by

multiple lawsuits later), and satisfied that it had jurisdiction, the J&DR Court granted custody of

Baby Doe to Joshua and Stephanie Mast, but the child still needed a legal identity as she had none.

       35.     Richard Mast filed again on their behalf, in Fluvanna County Circuit Court, a

Petition to Amend a Certificate of Birth, which Judge Richard E. Moore signed on November 8,

2019. It was presented to the Virginia Department of Health that same day.

       36.     The Virginia Department of Health declined to issue a Certificate of Birth on the

basis of that Order, prompting further discussions between Richard Mast, the court, and the

Virginia Office of the Attorney General.

       37.     Richard Mast consulted extensively with an assigned Assistant Attorney General

who represents and advises the Virginia Department of Health. This Assistant AG circulated the

request to her superiors for input, including the facts as understood at the time, and the legal

reasoning.




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       38.     The Virginia Office of the Attorney General, recognizing that the purpose of the

request was to provide a legal identity and care for Baby Doe, consulted with the Virginia Circuit

Court judge regarding his authority to issue the order. The Virginia OAG’s office did not suggest

serving formal notice to the United States was necessary.

       39.     The Virginia Department of Health, through the Office of the Attorney General,

opined that Richard Mast should file a Petition for Adoption on behalf of the Masts, and that the

Circuit Court could issue an “Interlocutory Order of Adoption,” after which VDH could issue a

Birth Certificate.

       40.     On November 9, 2019, the Assistant AG informed Richard Mast: “Good morning.

I’ve been communicating with my Deputy this morning and am waiting to hear back with a final

response. I’m guessing she is likely going to run this up the chain further. Her first response was

similar to mine – we need an adoption order.” Richard Mast responded with an offer to send

further thoughts and analysis to the Virginia Office of the Attorney General, which he did.

       41.     Later that day, the Assistant AG responded to Richard Mast while she was on the

road: “I just stopped for a break and forwarded your email to my chain of command and texted my

Deputy to alert her to it.” She advised that she had spoken to the Circuit Court judge: “I just talked

with him. He actually asked about his authority to enter an adoption order. I told him I would

pursue it with my office [Office of the Attorney General], which I’m trying to do now” from her

out-of-office location.

       42.     Finally, the Assistant AG responded with a green light: “Talked with the judge. He

will issue an interlocutory order. I advised [the Virginia Registrar] that she can issue the

certificate on the interlocutory order. I think you're going to have to coordinate logistics with




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the judge because he’s [out of state]. He's going to try to call you. Feel free to call me and I can

give you more details but I think we found a way to get this done.”

       43.     The Assistant Attorney General continued, that the Circuit Court judge “knows

what he wants the order to say and he and I went over it together… Please make sure the order

states that the Masts are the adoptive parents and should be listed as the parents on the birth

certificate. The order...should also contain the dates and places of birth of Capt. and Mrs. Mast. It

should also state that Baby [Doe’s] place of birth and her natural parents are unknown.”

       44.     On November 10, 2019, Richard Mast responded that the “Petition and

interlocutory order are done and sent to [C]aptain Mast for review; then will go to [a Virginia]

adoption attorney” for final review, and that “Judge Moore has been advised.”

       45.     Richard Mast sought input from the Virginia adoption attorney, who reviewed the

draft pleadings. She did not suggest serving formal notice to the United States was necessary.

       46.     Pursuant to these consultations, Richard Mast filed the Petition for Adoption, and

the Circuit Court judge signed an Interlocutory Order of Adoption so the Masts would be able to

bring Baby Doe to the United States. VDH issued the Birth Certificate. The Virginia Assistant

Attorney General informed the Circuit Court on November 10, 2019: “the Registrar has issued the

certificate of foreign birth for Baby [Doe]. Thanks for your patience with me and my Office. Hope

you can enjoy the rest of your weekend.”

       47.     Joshua Mast presented these developments to his chain of command in

Afghanistan, providing actual notice to DoD. Baby Doe was approved by DoD as the DoD

Dependent of Joshua Mast, her U.S. guardian. The DoD drafted a written request to Afghan

government officials to send Baby Doe to her U.S. Guardian in America for treatment.




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        48.    Captain Mast’s commander in Afghanistan made preparations to move Baby Doe

to Germany and then to the U.S., on the basis of Baby Doe’s only legal identity, and status as

Captain Mast’s DoD Dependent.

        49.    Joshua Mast believed at the time and continues to believe, with the hindsight of

approximately two years of litigation and the testimony of eyewitnesses and Afghan law experts,

that Baby Doe was a stateless minor rather than an Afghan citizen based on, among other things,

the fact that many fighters killed in the assault on the training camp were AQ Turkmen Uyghurs

from Turkmenistan or China, and that children born to foreigners do not receive birthright

citizenship in Afghanistan.

        50.    Joshua Mast raised these concerns with appropriate authorities, including in the

Department of Defense (DoD) and the U.S. Congress, many of whom supported his efforts.

        51.    The Commandant of the Marine Corps approved Baby Doe as a DoD dependent

with full knowledge of her location and status as a patient in a U.S military hospital at Bagram Air

Base.

        52.    At least one official from the State Department—the Assistant Chief of Mission

(ACM) at the Embassy in Afghanistan—took the contrary view that Baby Doe should be handed

over to the custody of the then-extant Afghan Government.

        53.    In a meeting on October 23, 2019 at which the ACM was supposed to receive a

classified briefing on U.S. intelligence about Baby Doe’s likely origin as a child of a Turkistan

Islamic Party member, the ACM invited representatives of the Afghan Government ultimately and

arranged for Baby Doe to be placed in Afghan custody.

        54.    The ACM also secured an order that restricted military personnel from advocating

against transferring Baby Doe to Afghan custody.




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        55.     Joshua Mast remained concerned for the dangerous situation facing Baby Doe after

the superficial review of the Embassy.

        56.     It was clear to Joshua Mast that Baby Doe would not receive adequate medical care

in Afghanistan, was not an Afghan national (but a stateless child), and was likely being turned

over to non-relative, terrorist affiliated persons.

        57.     Joshua Mast and his wife, Stephanie, filed for a Temporary Restraining Order

(TRO) in this Court on February 26, 2020 seeking to prevent a transfer of custody without a DNA

test and vetting for terrorist affiliations, which had been the position of DoD during the preceding

months leading up to the filing of the TRO.

        58.     Counsel for DOJ falsely represented to this Court that the U.S. Government was

unaware of Captain Mast’s actions; when the U.S. Government had in its possession an extensive

memorandum signed two weeks’ prior by Deputy Assistant Secretary of Defense Eric J Mauerer

reiterating 1) DoD’s knowledge of both the J&DR Court Order, and the Circuit Court Order, and

that DoD’s understanding – like that of Joshua Mast – like that of Richard Mast – was that the

request was not for purposes of adoption, but for humanitarian treatment and care for the child.

        59.     After this Court questioned the DOJ lawyers, who failed to apprise this Court of

the high-level DoD recognition of Baby Doe as Joshua Mast’s dependent, and after querying

Richard Mast with a compound question about the Masts’ “ultimate” intentions at the TRO hearing

(the answer to which has been wildly misconstrued by DOJ lawyers, Plaintiffs’ counsel and the

press), the Court denied that request, and the transfer of custody went forward.

        60.     Upon information and belief, after Baby Doe left DoD custody, she was placed with

John Doe’s father, who falsely purports to be the older half-brother of the child’s purported




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biological father. John Doe’s father has not testified in the past two years of litigation, but the Does

assert this man left her with the Does and did so without a court order or any other official act.

          61.   After receiving reports that Baby Doe was experiencing medical complications, the

Masts continued to be concerned that Baby Doe would not receive the medical care she needed in

Afghanistan and that it was not a safe place for her.

          62.   The Masts proceeded with finalizing their adoption of Baby Doe in the United

States.

          63.   As the Taliban campaign swept over Afghanistan in the late summer of 2021,

Joshua Mast established contact with John Doe and requested he bring Baby Doe to Kabul to fly

to the United States before the country collapsed.

          64.   Joshua Mast communicated with John Doe through an interpreter, Ahmad Osmani.

          65.   Based on John Doe’s representations, Joshua Mast and Ahmad Osmani understood

that John Doe’s father was the actual person with decision-making authority over the child.

          66.   Osmani repeatedly asked on Joshua Mast’s behalf whether John Doe’s father had

made a decision yet to send the child to Joshua Mast.

          67.   Osmani asked in one recorded message about how the child was doing physically,

and where she lived.

          68.   John Doe left a recorded voice message in response for Joshua, which was

interpreted by Osmani. Using the child’s American name Joshua had secured for her, John Doe

stated that the little girl did not live with John Doe, his father, or “[his] family,” but with “another

family” and “that family has become like her mother and father.” Joshua Mast was candid with

John Doe from the beginning and throughout their discussions, that Joshua and Stephanie Mast

had adopted Baby Doe, that they had created a legal identity for her in the United States, and that




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they intended for her to live with them in the United States using the strongest words for legal

responsibility over a child in Pashto.

          69.   When the Afghan Government collapsed on August 15, 2021, and the evacuation

began, Joshua Mast again contacted John Doe about bringing Baby Doe to U.S. forces, extremely

concerned that they may not get another chance—a belief that John Doe shared.

          70.   Through the efforts of Joshua Mast and other U.S. military personnel, and based on

the legal identity of Baby Doe under the Adoption Order, John and Jane Doe were able to flee

Afghanistan, notwithstanding the chaos of the U.S. withdrawal, by bringing Baby Doe to U.S.

Forces.

          71.   Joshua Mast made sure that the U.S. military did not evacuate only Baby Doe but

also that they brought John Doe and Jane Doe along so they would not be killed by the Taliban for

disobeying their orders. .

          72.   But for the personal efforts of Joshua Mast and the child’s U.S. identity, John Doe

and Jane Doe would not have been able to flee Afghanistan in the aftermath of the U.S. withdrawal.

          73.   Specifically, Joshua Mast was told by his commanding officer that the assets

recovering the child “don’t give a [expletive] about Afghans, and would likely stick a gun in their

face and take [the child].” Furthermore, Joshua Mast was told that he would have to “choose

between [the child] and [John and Jane Doe]” as it came down to execution of the mission to

recover the child from behind Taliban lines. Joshua Mast refused to abandon the Does to be

murdered by the Taliban, and instead delayed the mission for over 24 hours until he personally

confirmed the unit would evacuate the Does as well.




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       74.     During a stop in Germany on the trip from Afghanistan to the United States,

concerns arose that John Doe and Jane Doe would be diverted to another country and would not

be permitted to travel to the United States with Baby Doe and the Masts.

       75.     During that same trip, upon information and belief, Jane Doe confronted John Doe,

expressing displeasure that he had consciously agreed to allow the Masts to take custody of Baby

Doe as a means to secure safe passage to the United States. This encounter illustrates that both

John Doe and Jane Doe were aware that Joshua and Stephanie Mast had adopted Baby Doe and

would have custody of her in the United States.

       76.     Jane Doe also pejoratively referred to John Doe as a “Modegal” because “[John

Doe] wants to go to America, and [the child] is the price.”

       77.     In Germany, John Doe revealed for the first time that he had made a collateral

promise to Jane Doe to induce her to abandon her threat to remain in Afghanistan and instead

accompany him to the America. Specifically, John Doe and Jane Doe admitted that the child would

never leave Jane Doe’s side if Jane Doe would come to America. This promise demonstrates both

Does were aware the Masts intended the child to live with them in America.

       78.     Once again, Joshua Mast intervened to ensure that John Doe and Jane Doe would

be able to travel to the United States with Baby Doe and the Masts.

       79.     But for Joshua Mast’s intervention, John Doe and Jane Doe would not have been

permitted to travel to the United States. This episode illustrates that the Masts were not attempting

to “kidnap” Baby Doe or otherwise trick John Doe and Jane Doe—and that John Doe and Jane

Doe were well aware of that fact.

       80.     In fact, throughout the relevant time period, John Doe sought to use Baby Doe as a

ticket to escape Taliban-controlled Afghanistan.




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        81.    John Doe was identified on the unclassified Biometrically Enabled [Terror]

Watchlist (BEWL) upon his entry to the United States for a 2014 arms/explosives use. In the

detention center, he met another military-aged male from his same home village, similarly

identified.

        82.    The US government has scrubbed John Doe’s BEWL entry, as it has scrubbed the

terrorism records of multiple “refugees.” John Doe’s BEWL screenshot cannot be released at this

time, because of the federal protective order, but counsel for John Doe sent it to the US government

(Richmond FBI Field Office) and still have copies of it, as revealed in federal discovery.

        83.    Soon after John Doe was identified on the BEWL, after entered the United States,

on September 3, 2021, the Masts took custody of Baby Doe.

        B. Litigation Between the Does and the Masts

        84.    Prior to filing this litigation, John and Jane Doe filed a petition in the Virginia

Circuit Court seeking to challenge the custody and adoption orders granting custody and adoptive

parent rights to Joshua and Stephanie Mast. That state court litigation is ongoing.

        85.    John and Jane Doe falsely claim that Baby Doe’s father was an innocent Afghan

farmer and that the U.S. military killed him in the military operation described herein. In addition,

John and Jane Doe claim that the “innocent farmer’s” wife and some of their other children were

similarly killed. They further assert that the surviving children of the “innocent farmer” remain in

Afghanistan, the younger of whom are living with someone else.

        86.    John and Jane Doe have never met any of the innocent farmer’s children nor had

they met Baby Doe until John Doe’s father handed her off to John Doe. John and Jane Doe had

never seen a picture or any likeness of Baby Doe prior to John Doe’s father handing her off to John

Doe.




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        87.    Upon information and belief, John Doe’s father had never met or seen Baby Doe

prior to obtaining her from the ICRC on February 27, 2020. John Doe’s father had never seen a

picture or any likeness of Baby Doe prior to obtaining her from the ICRC.

        88.    Neither John nor Jane Doe have ever provided any evidence that they are

biologically related to Baby Doe or that they ever had legal custody of her.

        89.    John Doe’s father has never presented any evidence that he is biologically related

to Baby Doe or that he ever had legal custody of her.

                                       COUNTERCLAIMS

                                          COUNT ONE
                                        (Abuse of Process)

        90.    John and Jane Doe know or should know that they are not the child’s parents, legal

custodians, or biologically related to her.

        91.    Neither John Doe nor Jane Doe ever met the child prior to at least February 27,

2020.

        92.    John Doe's father never met the child prior to at least February 27, 2020.

        93.    No family member of John Doe ever saw the child prior to at least February 27,

2020.

        94.    John and Jane Doe knew or should have known that this baby was the child of a

foreign fighter not native to Afghanistan.

        95.    John Doe’s father never sought or obtained an Afghan court order in his favor as

parent, adoptive parent, guardian, or custodian.

        96.    John and Jane Doe never sought or obtained an Afghan court order in their favor as

parents, adoptive parents, guardian, or custodian.




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       97.      John Doe and Jane Doe have never provided a DNA sample from John Doe nor

from any of the claimed surviving full-blood children of the “innocent farmer.”

       98.      John Doe and Jane Doe retained attorneys to file this lawsuit in an attempt to use a

federal court proceeding to improperly effect and improperly usurp and/or preempt state court

proceedings on the validity of Joshua and Stephanie Mast’s adoption, which are ongoing, by

improperly seeking declaratory judgements falsely establishing the Does’ custodial or parental

rights to Baby Doe

       99.      John and Jane Doe filed this federal lawsuit in order to improperly impact the state

court processes, by use of the federal processes, including discovery; and including declaratory

judgments.

       100.     John and Jane Doe filed this suit to induce this court, through discovery and motions

practice they have since carried out, to rule on declaratory judgments so as to improperly effect,

usurp and/or preempt the Virginia court proceedings, which this Court ultimately dismissed as

improper.

       101.     John and Jane Doe sought and obtained an ex parte illegal protective order (“Gag

Order”) to prevent Defendant Richard Mast from engaging in effective discovery in the United

States and in Afghanistan, where significant evidence to rebut their claims exists upon information

and belief.

       102.     Through this litigation, John and Jane Doe sought and obtained an ex parte illegal

Gag Order to prevent Defendant Richard Mast from effectively engaging with witnesses in

Afghanistan, thereby depriving Defendant Richard Mast of due process in defending against the

Does’ claims.




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       103.    Through this litigation, John and Jane Doe sought and obtained an ex parte illegal

Gag Order to prevent Defendant Richard Mast (as well as the other defendants) from speaking to

the public in rebuttal of the highly inflammatory allegations made by John and Jane Doe.

       104.     Through this litigation, John and Jane Doe filed sought and obtained an ex parte

illegal Gag Order to prevent Defendant Richard Mast (as well as the other defendants) from raising

money in his/their defense.

       105.    Through this litigation, John and Jane Doe sought and obtained an ex parte illegal

Gag Order to prevent Defendant Richard Mast from identifying John Doe by name to Congress

and other authorities (including Virginia law enforcement and the Virginia Attorney General’s

Office) as a Known/Suspected Terrorist (KST) to appropriate authorities who had been identified

upon entry to the United States upon the Biometrically Enabled [Terror] Watch List (BEWL) and

that his BEWL entry had been scrubbed from the system.

       106.    As a direct and proximate result of the above-described abuse of process, Richard

Mast has suffered financial damages and has suffered emotional distress.

                                         COUNT TWO
                                         (Defamation)

       107.    John and Jane Doe have made false and defamatory statements to members of the

press and others that Defendant Richard Mast was a principal in a fraudulent conspiracy with

Defendant Joshua Mast to “abduct” and “kidnap” a child unrelated to them whom the Does now

falsely claim as their daughter, in the absence of any Afghan legal authority or court order.

       108.    John and Jane Doe, through their attorneys/agents, have made false and defamatory

statements to members of the media, including but not limited to the following:

           a. “‘When the Legislature made that law, they didn’t have in mind what happens when

               someone internationally abducts a child,’ [Elizabeth] Vaughan, the Virginia



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   adoption lawyer, told [NYT reporter Rozina Ali.]” See Rozina Ali, “How Did This

   Man Think He Had the Right to Adopt This Baby?” New York Times Magazine

   (Nov. 10, 2023), at https://www.nytimes.com/2022/11/10/magazine/afghanistan-

   orphan-baby-l.html.

b. “‘It’s the complete collapse of rule of law that allowed this abduction to happen,’

   Sehla Ashai, one of the lawyers who would go on to represent the baby’s relatives,

   told [Rozina Ali].” See Rozina Ali, “How Did This Man Think He Had the Right to

   Adopt This Baby?” New York Times Magazine (Nov. 10, 2023), at

   https://www.nytimes.com/2022/11/10/magazine/afghanistan-orphan-baby-l.html.

c. “‘She’s living with a person who kidnapped her,’ Jane said.” See Rozina Ali, “How

   Did This Man Think He Had the Right to Adopt This Baby?” New York Times

   Magazine                 (Nov.               10,              2023),               at

   https://www.nytimes.com/2022/11/10/magazine/afghanistan-orphan-baby-l.html.

d. “To Ashai, the Afghan passport suggests the Masts’ willingness to deceive. ‘If Mast

   is saying the baby is stateless, and then getting a passport for her, he knows she’s

   not stateless,’ she told [Rozina Ali].” See Rozina Ali, “How Did This Man Think

   He Had the Right to Adopt This Baby?” New York Times Magazine (Nov. 10,

   2023),    at   https://www.nytimes.com/2022/11/10/magazine/afghanistan-orphan-

   baby-l.html.

e. “[F]rom the Does’ perspective, Mast is an officer of a military that has killed their

   countrymen, women, children, with impunity over the last 20 years, who was driven

   by his own moral compass and abducted their daughter, removing her from a loving

   family and forcing a religion upon her that is not her own.” See Rozina Ali, “How




                                    81
                 Did This Man Think He Had the Right to Adopt This Baby?” New York Times

                 Magazine               (Nov.                10,               2023),                at

                 https://www.nytimes.com/2022/11/10/magazine/afghanistan-orphan-baby-l.html.

             f. “Surely her child, who [Jane Doe] says was abducted by a U.S. Marine more than

                 a year ago, would now be returned, she thought.” See Martha Mendoza, et. al,

                 Afghan war orphan remains with Marine accused of abduction, Associated Press

                 (Dec. 31, 2022).

        109.     In these articles, Richard Mast is named as the attorney assisting Joshua Mast in

the “kidnapping.”

        110.     These and similar statements made to the press by John and Jane Doe, either

directly or through their counsel, assert that the Masts engaged in a conspiracy to commit the crime

of kidnapping.

        111.     These statements were false when made and remain false.

        112.     John and Jane Doe made these false statements knowing they were false, recklessly

disregarding the truth, and/or negligently disregarding the truth.

        113.     These false statements are defamatory per se because they impute to Richard Mast

(and to his brother Joshua and his sister-in-law, Stephanie), a crime of moral turpitude. They are also

defamatory in fact by wrongly painting the Masts has nefarious wrongdoers who deceived the Does to

steal their child.

        114.     As a direct result of these false statements, Richard Mast has suffered shame,

humiliation, and emotional distress.

        115.     The defamatory statements are unambiguously about Richard Mast (together with

his brother and sister-in-law) and they were made to third parties, including but not limited to

reporters at the Associated Press and New York Times Magazine.


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        116.    The Does’ defamatory statements to the press and other third parties are not legally

privileged.

        117.    The Masts are not public figures and therefore need not establish that the Does’

statements were made with actual malice, but in any event, the Does did act with actual malice.

They knew then, and know now, that their “kidnapping” narrative is false and that their supporting

lies about their relationship to the child and their interactions with the Masts are false. They have

published and republished those statements nevertheless, motivated at least in part by a desire to

increase their chances of prevailing in this litigation and the related state-court litigation.

        118.    In any event, the Does acted with sufficient intent to be liable for defamation.

        119.    The Does’ defamatory statements about Richard Mast have proximately caused

substantial damages, including financial loss, a loss of standing in the community, and emotional

distress.


                                      PRAYER FOR RELIEF


WHEREFORE, Richard Mast prays:

    1. That Richard Mast have and recover from John and Jane Doe damages in an amount greater

        than $350,000 to be proven at trial;

    2. That Richard Mast have and recover pre-judgment and post-judgment interest as may be

        allowed by law;

    3. That Richard Mast have and recover from John and Jane Doe damages and Richard Mast’s

        reasonable attorneys’ fees and costs incurred in this action;

    4. That this Court tax all costs of this action against John and Jane Doe;

    5. That a jury trial be had on all issues which should be tried by jury;




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   6. That this Court order such other and further relief as it deems just and proper.




Dated: August 7, 2024                        Respectfully submitted,


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                                             Counsel for Defendant Richard Mast




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                                 CERTIFICATE OF SERVICE

       I hereby certify that on August 7, 2024, a copy of the foregoing was filed electronically.

Notice of this filing will be sent to all parties for whom counsel has entered an appearance by

operation of the Court’s electronic filing system. Parties may access this filing through the Court’s

system. I further certify that a copy of the foregoing has been served by ordinary U.S. mail upon

all parties for whom counsel has not yet entered an appearance electronically: none.

                                                      /s/David Yerushalmi
                                                      David Yerushalmi, Esq.




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